         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 1 of 93




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17                              UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                  SAN FRANCISCO DIVISION
20
      IN RE GOOGLE PLAY STORE                      Case No. 3:21-md-02981-JD
21    ANTITRUST LITIGATION
                                                   GOOGLE’S OBJECTIONS TO EPIC’S
22    THIS DOCUMENT RELATES TO:                    PROPOSED INJUNCTION
23
      Epic Games Inc. v. Google LLC et al., Case   Judge: Hon. James Donato
24    No. 3:20-cv-05671-JD

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                        GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                              Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
            Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 2 of 93




 1                                                     TABLE OF CONTENTS
                                                                                                                                         Page
 2

 3 PRELIMINARY STATEMENT ........................................................................................................1

 4 I.          GENERAL OBJECTIONS ....................................................................................................2

 5 II.         PART II - ANDROID APP DISTRIBUTION MARKET ...................................................12

 6             A.        Part II.A.1 - Placement & Pre-Installation Terms for Third Party App Stores ........12

 7             B.        Part II.A.2 - Agreements with Actual or Potential Competing Distributors ............16

 8             C.        Part II.A.3 - No Exclusivity .....................................................................................21

 9             D.        Part II.A.4 - No MFNs or Limits on Differentiated Content....................................23
10             E.        Part II.A.5 - No Restrictions on Removal of Developer Apps from the
                         Google Play Store.....................................................................................................26
11
               F.        Part II.B.1 & B.2 - Parity of Install Flow Regardless of Source ..............................27
12
               G.        Part II.C.1 - Parity of Access to Android Functionality Regardless of Source ........41
13
               H.        Part II.C.2 – No Access Restrictions to Other Google Products or Services ...........45
14
               I.        Part II.D.1 - Google Play Store Catalog Access and Library Porting ......................47
15
               J.        Part II.D.2 - Google Play Store Distributing Third-Party Apps Stores ....................57
16
               K.        Part II.D.3 - Mandating Placement of the Google Play Store ..................................63
17
     III.      PART III - ANDROID IN-APP PAYMENT SOLUTIONS MARKET..............................65
18
               A.        Epic Lacks Standing to Obtain an Injunction Relating to Billing Remedies ...........65
19
               B.        Parts III.A.3 & A.4 and III.B.2 & B.3 – Price Regulation of Service Fees .............66
20
               C.        Parts III.A.1 and A.2 - Free Flow of Information Regarding Out of App
21                       Purchasing Options (Steering) .................................................................................74

22             D.        Part III.B.1 - No Tying of Distribution to Payments ...............................................77

23             E.        Part III.C.3 and C.4 - No Discrimination on the Basis of Payment Solution ...........81

24 IV.         PART IV - COMPLIANCE .................................................................................................82

25 V.          PART V - ANTI-RETALIATION .......................................................................................84

26 VI.         GEOGRAPHIC SCOPE .......................................................................................................86

27

28
     51890437.9                                                         -i-
                                 GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                       Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 3 of 93




 1                                     PRELIMINARY STATEMENT

 2            As requested by Epic at the January 18, 2024 status conference, MDL ECF 909 (“1/18/24

 3 Hr’g Tr.”) 22:7–17, and as authorized by the Court’s March 21, 2024 Minute Order, ECF 951,

 4 Google submits the following objections to Epic’s proposed injunction. 1 Google’s specific

 5 objections to each of the 14 different remedies requested by Epic are set forth below. To assist the

 6 Court in its consideration of those objections, Google sets forth the following summary.

 7            Epic’s proposed injunction strays far beyond the trial record. As Epic’s own expert

 8 admits, much of the conduct that Epic asks the Court to enjoin was never presented to the jury and

 9 is purely hypothetical. Rather than a judicial injunction against alleged violations of law, Epic
10 asks this Court to create a new global regulatory regime that would set prices, impose ongoing

11 duties to deal, and require the Court to micromanage on an ongoing basis a highly complex and

12 dynamic ecosystem that is used by billions of consumers and millions of app developers and that

13 supports the business of hundreds of OEMs and carriers around the world. Epic’s proposed

14 injunction would benefit Epic while harming other developers and OEMs by depriving them of

15 choices and reducing competition for their business and while undermining the security and

16 privacy of Android users. And the cumulative effect of Epic’s various proposed remedies–such as

17 requiring Google to distribute other app stores and make its entire app catalog available to every

18 other app store, prohibiting Google from negotiating with OEMs for non-exclusive placement and

19 with developers for differentiated content, and chilling Google’s business relationships by

20 restricting conduct that “incentivizes” or “disincentivizes” third parties–would effectively prevent

21 Google from competing to the detriment of consumers, Android users, OEMs, and developers.

22 Epic does not even attempt to explain why it is entitled to such a sweeping injunction under the

23 rules governing equitable relief.

24            To the extent that Epic’s goal is to promote competition rather than create an unfair, Court-
25 supervised advantage for itself, Epic need look no further than the remedies in the State

26

27   1
     Unless otherwise specified, references to “ECF” are to the docket for No. 3:21-md-02981-JD and
28 references to “Tr.” are to the trial transcript.
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                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 4 of 93




 1 Settlement. Those remedies—endorsed by all 50 States, the District of Columbia, and two

 2 territories—span nearly every topic covered by Epic’s proposed injunction and fully address the

 3 alleged anticompetitive conduct and effects that Epic presented to the jury at trial. Those remedies

 4 would further promote competition among app stores, ensure that competing app stores can enter

 5 preload agreements with OEMs, simplify direct installation, and allow developers to choose

 6 among billing systems. As the States argued in their brief in support of the agreement, the

 7 settlement “strikes an appropriate balance between the concerns the States and Consumer Counsel

 8 raised about Google’s conduct without prohibiting Google from protecting the legitimate interests

 9 of consumers who use Android devices.” Case No. 3:21-cv-05227-JD, ECF 548 at 7. By contrast,
10 Epic’s proposed injunction seeks to tilt competition in its favor to the detriment of other

11 developers, OEMs, consumers, and Android users. Google objects to each provision of Epic’s

12 proposed injunction on the grounds that it is unnecessary to further promote competition in light of

13 the State Settlement and that Epic’s proposed remedies will harm competition. Google’s further

14 General Objections are set forth below, followed by Google’s specific objections to each provision

15 of the proposed injunction.

16                                   I.    GENERAL OBJECTIONS
17            Google respectfully submits the following General Objections to Epic’s proposed

18 injunction. The application of these General Objections to the specific provisions of the proposed

19 injunction is discussed in the sections below. For ease of reference and brevity, the legal

20 authorities for Google’s objections set forth in the General Objections have not been repeated each

21 time an objection is raised to a specific provision.

22            1.     Epic’s proposed injunction seeks remedies to which it is not entitled. “According

23 to well-established principles of equity, a plaintiff seeking a permanent injunction must satisfy a

24 four-factor test before a court may grant such relief.” eBay Inc. v. MercExchange, L.L.C., 547

25 U.S. 388, 391 (2006). Under the Clayton Act, a private plaintiff like Epic is entitled to an

26 injunction only “under the same conditions and principles” applied by courts of equity. See 15

27 U.S.C. § 26. Epic must therefore show: “(1) that it [faces a significant threat of] irreparable

28 [antitrust] injury; (2) that remedies available at law, such as monetary damages, are inadequate to
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 5 of 93




 1 compensate for that injury; (3) that, considering the balance of hardships between the plaintiff and

 2 defendant, a remedy in equity is warranted; and (4) that the public interest would not be disserved

 3 by a permanent injunction.” Steves & Sons, Inc. v. JELD-WEN, Inc., 988 F.3d 690, 719 (4th Cir.

 4 2021); see Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 1002 (9th Cir. 2023) (Apple II), cert.

 5 denied, 144 S. Ct. 681 (2024). Epic has not demonstrated–and its experts do not attempt to

 6 demonstrate–that Epic’s proposed injunction satisfies any of these factors, let alone all of them. In

 7 particular, Epic has not even tried to explain how Epic faces a significant threat of irreparable

 8 antitrust injury that would warrant the wide-ranging remedies it asks the Court to impose. Instead,

 9 Epic merely purports that the goal of its proposed injunction is “to open up to competition the two
10 markets found by the jury,” ECF 952 at 1, a standard far from the well-established factors it’s

11 required to show.

12            2.    The proposed injunction does not serve the public interest, as required by eBay.
13 See Apple II, 67 F.4th at 1002 (to issue an injunction, the court must find that “the public interest

14 would not be disserved by a permanent injunction”); Massachusetts v. Microsoft Corp., 373 F.3d

15 1199, 1211 (D.C. Cir. 2004) (rejecting an injunction that would be “likely to harm consumers,” by

16 dampening Microsoft’s incentive to innovate); Calnetics Corp. v. Volkswagen of Am., Inc., 532

17 F.2d 674, 694 (9th Cir. 1976) (reversing injunction that failed to consider incidental effects on the

18 market and on consumers); Bray v. Safeway Stores, Inc., 392 F. Supp. 851, 868 (N.D. Cal. Mar. 4,

19 1975) (rejecting remedy as against the public interest where injunction regulated activities that

20 were not inherently illegal, may result in higher prices to consumers, and benefitted a different

21 group of market participants rather than competition as a whole). Both parties’ experts testified at

22 trial that Android is a platform or ecosystem. To maintain Android as a competitive platform,

23 Google must balance the interests of the platform’s various stakeholders, including Android users,

24 app developers, carriers, and the OEMs who manufacture Android phones. As discussed further

25 below, numerous provisions in Epic’s proposed injunction would benefit Epic while harming other

26 stakeholders in the Android ecosystem and competition in general by (among other things)

27 creating security and privacy risks, imposing costs on developers, depriving developers of control

28 over distribution of their apps, and depriving developers and OEMs of the opportunity to seek
     51890437.9                                       -3-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 6 of 93




 1 competitive offers from Google. Indeed, Epic’s proposed injunction would deprive developers of

 2 the right to control distribution of their own apps and to seek distribution incentives from app

 3 stores by requiring Google to make its entire catalog of apps available to every other Android app

 4 store. An injunction that harms downstream consumers is not “an appropriate way to remedy an

 5 antitrust violation.” Microsoft, 373 F.3d at 1211; see Theme Promotions, Inc. v. News Am. Mktg.

 6 FSI, 546 F.3d 991, 1009 (9th Cir. 2008) (“[A] district court might appropriately deny a motion for

 7 injunctive relief where the injunction would hinder, rather than promote, competition in the

 8 market.”).

 9            3.    The vagueness of the proposed injunction would require repeated and ongoing
10 judicial intervention. An injunction must be specific and definite enough to put parties on notice

11 of what conduct is prohibited. See Fortyune v. Am. Multi-Cinema, Inc., 364 F.3d 1075, 1086–87

12 (9th Cir. 2004) (noting that Rule 65(d) reflects the “basic principle” that “those against whom an

13 injunction is issued should receive fair and precisely drawn notice of what the injunction actually

14 prohibits”) (quotation and citation omitted); Union Pac. R. Co. v. Mower, 219 F.3d 1069, 1077

15 (9th Cir. 2000) (injunction must be “sufficiently precise” such that the defendant “receive[s] fair

16 and precisely drawn notice of what [it] actually prohibits” in order to avoid “uncertainty and

17 confusion.” (quotation and citations omitted)); see also Pacific Bell Tel. Co. v. linkLine

18 Commc’ns, Inc., 555 U.S. 438, 452 (2009) (“We have repeatedly emphasized the importance of

19 clear rules in antitrust law.”). In particular, the provisions in the proposed injunction that would

20 prohibit Google from “incentivizing” or “disincentivizing” certain conduct by third parties do not

21 provide Google with fair notice of the prohibited conduct and will entangle the Court in ongoing

22 disputes between the parties about whether particular actions “incentivize” or “disincentivize”

23 third parties (e.g., ECF 952 (“Proposed Injunction”) II.A.1, II.A.2, II.A.3, II.B.1, II.D.3). Many of

24 these provisions require Google to treat every app developer and OEM as a potential competitor,

25 depriving those partners of the opportunity to enter into a variety of beneficial agreements with

26 Google and requiring the Court to intervene repeatedly to govern Google’s relationships with

27 those partners. See ECF 956-1, Statement of Matthew Gentzkow (“Gentzkow”) ¶¶ 35, 39. Epic’s

28 expert concedes that the purpose of many of these vague prohibitions is to “prevent Google from
     51890437.9                                      -4-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 7 of 93




 1 using its control of Android to impair competing app stores in other ways” beyond the conduct

 2 presented at trial. Bernheim Statement, ECF 952-2 (“Bernheim”) ¶ 11. This is precisely the sort

 3 of “[a]nticipatory injunction[]” that the Court has made clear is “not going to happen.” Tr.

 4 2757:11-12; see also Tr. 2757:14-15 (“I’m not going to write a menu of hypothetical options that

 5 may or may not happen.”).

 6            4.    The proposed injunction would require the Court to micromanage Google’s

 7 business activities and contractual relationships, contrary to Supreme Court precedent. See NCAA

 8 v. Alston, 594 U.S. 69, 102 (2021) (noting that judges must be sensitive to the possibility that the

 9 continuing supervision of a highly detailed decree could wind up impairing rather than enhancing
10 competition because “the decrees themselves may unintentionally suppress procompetitive

11 innovation and even facilitate collusion.”); linkLine , 555 U.S. at 452–53 (“Courts are ill-suited ‘to

12 act as central planners, identifying the proper price, quantity, and other terms of dealing.’”);

13 Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004) (same).

14 For example, Epic’s request that the Court order Google to create a “distribution-channel-agnostic

15 notarization-like process” for apps downloaded from websites or other app stores would require

16 the Court to oversee the creation and implementation of standards, policies, and practices

17 governing the “notarization” of mobile apps. Similarly, Epic’s request that the Court order

18 Google to distribute every other Android app store through the Play store would require the Court

19 to oversee the creation and implementation of the technical infrastructure, product redesign, and

20 policies and procedures necessary to transform the Play store from a store that distributes apps into

21 a store that also distributes other app stores. Epic’s proposed injunction ignores these

22 administrability issues by wrongly assuming that all third-party app distribution sources are

23 equally trustworthy.

24            5.    The proposed injunction is legally improper because it would impose duties on
25 Google to deal with its competitors that would be impossible to administer. “As a general rule,

26 businesses are free to choose the parties with whom they will deal, as well as the prices, terms, and

27 conditions of that dealing.” linkLine, 555 U.S. at 448. Courts, moreover, routinely decline to

28 impose duties to deal on the ground that they are not readily administrable by the judiciary.
     51890437.9                                       -5-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 8 of 93




 1 Trinko, 540 U.S. at 407–08 (declining to enforce a duty to deal because “[e]nforced sharing also

 2 requires antitrust courts to act as central planners, identifying the proper price, quantity, and other

 3 terms of dealing—a role for which they are ill suited”); see also Novell, Inc. v. Microsoft Corp.,

 4 731 F.3d 1064, 1073 (10th Cir. 2013) (warning that “forced sharing” requires courts to “pick and

 5 choose the applicable terms and conditions,” which “would not only risk judicial complicity in

 6 collusion and dampened price competition,” but would “also require us to become ‘central

 7 planners’”). Epic’s proposed injunction imposes on Google numerous duties to deal that are not

 8 necessary to promote competition and are not judicially administrable. For example, the proposed

 9 injunction mandates that Google provide distribution for competitors through the Play store
10 without explaining how this forced access would be administered and notwithstanding the Court’s

11 summary judgment ruling that Google has no such obligation. See ECF 700 (granting summary

12 judgment for Google on “plaintiffs’ claims that Google unlawfully prohibits the distribution of

13 other app stores on Google Play”) (quoting ECF 483 at 6); see also ECF 569, 8/3/23 Hr’g Tr. at

14 6:18-19 (“There’s no duty to deal.”). Indeed, the proposed injunction appears to contemplate that

15 Google must do so for free. And the proposed injunction would require Google to provide other

16 app stores with access to its catalog and to distribute other app stores through the Play store,

17 without specifying the terms under which Google would be required to enter into these

18 arrangements.

19            6.    The proposed injunction would impermissibly require Google to give away for free
20 its intellectual property, including proprietary Application Programming Interfaces, to non-

21 customers, dampening Google’s incentives to innovate and improve the Play store and harming

22 developers, users, and OEMs. See Apple II, 67 F.4th at 986 (“IP-compensation is a cognizable

23 procompetitive rationale”). In most instances, this forced sharing of intellectual property is

24 intended to address hypothetical future conduct that was not actually presented at trial.

25            7.    The proposed injunction would improperly regulate Google’s prices. See generally

26 ECF 956-2, Statement of Gregory K. Leonard (“Leonard”). The evidence at trial showed that the

27 Play store provides many benefits to app developers. The Play store gives developers a safe,

28 secure, reliable platform to distribute their apps to billions of Android users around the world.
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 9 of 93




 1 The Play store also provides developers with tools to build and then test, release, and continue to

 2 grow and monetize their apps. Epic’s proposed injunction would regulate the fee that Google can

 3 charge for those services when a user chooses a different billing system as well as the price that

 4 Google can charge when users choose Google Play Billing. Epic’s proposed injunction would

 5 also override the careful balance struck by the State Settlement regarding developer

 6 communication with users about alternative payment methods and prices. As the States put it in

 7 their settlement motion, “[u]nder the settlement, Google must allow developers to steer consumers

 8 away from the Google Play Store and toward alternative billing systems.” State of Utah. v.

 9 Google LLC, No. 3:21-cv-05227-JD, ECF 522 at 7. At the same time, the settlement preserves
10 Google’s ability to impose narrow restrictions to prevent developers from free-riding on the Play

11 store through external links in their apps and to protect users from pop-up ads. Epic’s proposal

12 prohibits Google from imposing even these targeted protections, violating the rule that “businesses

13 are free to choose the parties with whom they will deal, as well as the prices, terms, and conditions

14 of that dealing.” linkLine, 555 U.S. at 448; see also Alston, 594 U.S. at 102 (“Judges must be

15 wary, too, of the temptation to specify the proper price, quantity, and other terms of dealing—

16 cognizant that they are neither economic nor industry experts.”) (internal quotations marks and

17 citation omitted); Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1225 (9th Cir.

18 1997) (rejecting provision of antitrust injunction that limited Kodak to charging “reasonable”

19 prices).

20            8.    The proposed injunction is unduly burdensome and not “necessary to provide
21 complete relief to the plaintiff.” Apple II, 67 F.4th at 1002 (quoting L.A. Haven Hospice, Inc. v.

22 Sebelius, 638 F.3d 644, 664 (9th Cir. 2011)). For example, Epic’s request that the Court order

23 Google to create the first-ever “distribution-channel-agnostic notarization-like process” for mobile

24 apps would require enormous investment by Google while creating no discernible benefit to

25 competition beyond the provisions in the State Settlement that further simplify the sideloading

26 process. Similarly, Epic’s request that the Court order the Play store to distribute other app stores

27 would require Google to develop new technology, redesign its store, and write new policies and

28 procedures to govern this novel arrangement.
     51890437.9                                      -7-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 10 of 93




 1            9.    The proposed injunction impermissibly extends well beyond the evidence of

 2 anticompetitive conduct presented at trial. See, e.g., New York v. Microsoft Corp., 224 F. Supp. 2d

 3 76, 109 (D.D.C. 2002) (antitrust remedy can only reach otherwise-legal conduct that is “the same

 4 or similar” to the conduct found illegal in order for the court to enjoin them); see also Optronic

 5 Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 486 (9th Cir. 2021) (injunctive relief,

 6 including relief going beyond anticompetitive conduct proven at trial, “must be based on a ‘clear

 7 indication of a significant causal connection’” to “the violation found”). For example, Epic’s

 8 proposal that Google be required to provide access to its entire catalog of apps to every other app

 9 store has absolutely no basis in the trial record and is not consistent with Epic’s trial presentation.
10 At trial, Epic argued that the key to competition in the alleged relevant markets was for app stores

11 to provide unique content, not the same content as the Play store. Epic never argued that the Play

12 store’s large app catalog was the product of anticompetitive conduct, and in fact the evidence

13 showed that the large catalog was a “first-mover” advantage that Google obtained long before

14 virtually any of the challenged conduct was in place by building Android and launching the first

15 Android app store. See Gentzkow ¶ 20. The existing trial record cannot support Epic’s requested

16 injunction. “A hearing on the merits—i.e., a trial on liability—does not substitute for a relief-

17 specific evidentiary hearing unless the matter of relief was part of the trial on liability, or unless

18 there are no disputed factual issues regarding the matter of relief.” United States v. Microsoft

19 Corp., 253 F.3d 34, 101 (D.C. Cir. 2001).

20            10.    The proposed injunction’s stated goal–to “open up” the markets to competition–is
21 erroneously broad. The goal of the injunction instead should be to address the conduct found to be

22 unlawful and, if necessary to redress harm to the plaintiff, to reverse the competition-reducing

23 effects of that unlawful conduct. Epic’s generic statement of the injunction’s purpose does not

24 account for advantages that Google has earned through efforts that were not found unlawful,

25 including through innovation, product quality improvements, and first-mover status. For example,

26 the evidence at trial established that Google developed a large catalog of apps by building Android

27 and launching the first Android app store with the goal of luring developers to the platform.

28 Epic’s expert admitted that this conduct occurred before Google acquired any monopoly power,
     51890437.9                                        -8-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 11 of 93




 1 and the jury was not asked to find this conduct unlawful. Yet Epic’s proposed remedies–including

 2 the remedy that Google be forced to provide access to its app catalog to any party claiming to be

 3 an Android app store–seek to punish Google for pro-competitive conduct and to prevent Google

 4 from benefiting from that pro-competitive conduct going forward. Courts reject injunctions that

 5 block firms from lawfully competing because such injunctions harm competition. See Kodak, 125

 6 F. 3d at 1225–26 (striking injunction that failed to preserve Kodak’s ability to charge “monopoly

 7 prices” for its IP, noting that Kodak was entitled to charge “any nondiscriminatory price that the

 8 market will bear,” and that limiting Kodak’s prices would reduce its incentive to innovate); see

 9 also Microsoft Corp., 224 F. Supp. 2d at 110 (antitrust injunction should not block violator from
10 competing); see also Bray, 392 F. Supp. at 868 (rejecting injunction that, “by preventing the

11 defendant from engaging in activities that are not inherently illegal,” would “place it at a serious

12 disadvantage in the marketplace,” and risk raising consumer prices).

13            11.     The proposed injunction is overly broad to the extent it seeks to enjoin enforcement
14 of entire agreements, like MADAs and RSAs, which reflect broader value exchanges between

15 Google and its partners, rather than enforcement of the specific contractual obligations or

16 provisions that the proposed injunction addresses. Any injunction barring enforcement of

17 contractual obligations or provisions should be limited to those specific obligations or provisions,

18 and should not extend to the enforcement of the entire agreement, which may not be at issue in

19 this litigation.

20            12.     Several provisions in the proposed injunction would apply permanently, rather than
21 for a limited period of time. Permanent injunctive relief is unwarranted in this case in light of the

22 “substantial uncertainty” about the future of a rapidly evolving mobile app industry. Microsoft,

23 224 F. Supp. 2d at 183–84. Microsoft’s December 2023 announcement that it intends to launch an

24 Android gaming app store is just one example of the dynamic nature of the industry. See

25 Gentzkow ¶ 19. Even more recently, on March 20, 2024, Epic announced that the Epic Games

26 Store would be coming to Android. See id. Moreover, ongoing regulatory developments

27 impacting the industry (such as the European Union’s Digital Market Act and South Korea’s

28 Telecommunications Business Act) could significantly alter the relationship among app
     51890437.9                                        -9-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 12 of 93




 1 distribution channels like Google Play, developers, and users.

 2            13.   The proposed injunction’s worldwide scope (excluding China) impermissibly

 3 enjoins wholly foreign conduct in violation of the FTAIA. 15 U.S.C. § 6a; see also F. Hoffman-

 4 La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 158–59 (2004) (conduct that “involves” foreign

 5 commerce is presumptively outside the scope of the antitrust laws). “U.S. antitrust laws concern

 6 the protection of ‘American consumers and American exporters, not foreign consumers or

 7 producers.’” In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 546 F.3d 981, 986

 8 (9th Cir. 2008) (citation omitted); see also Empagran, 542 U.S. at 165 (FTAIA prevents the “risk

 9 of interference with a foreign nation’s ability independently to regulate its own commercial
10 affairs” by limiting the application of U.S. “remedies.”). Under the FTAIA, the antitrust laws do

11 not apply to foreign commerce unless the conduct has a “direct, substantial, and reasonably

12 foreseeable effect” on domestic commerce, import commerce, or export commerce. 15 U.S.C. §

13 6a. Developers outside of the U.S. transact with users outside of the U.S. via versions of the Play

14 store designed for countries outside of the U.S. Epic has made no showing that Google’s conduct

15 as to those transactions has a direct, substantial, and reasonably foreseeable effect on U.S.

16 commerce, or import or export commerce. Moreover, a global injunction would be inconsistent

17 with international comity by interfering with foreign jurisdictions’ application of their own

18 competition laws and regulations. Empagran, 542 U.S. at 156, 165–67 (“other nations have not in

19 all areas adopted antitrust laws similar to this country’s and,” even if those different “nations agree

20 about” the anticompetitive conduct at issue, “they disagree dramatically about appropriate

21 remedies”). As explained below, a global injunction threatens conflicts and interference with the

22 results of ongoing litigation between Epic and Google in Australia and the United Kingdom,

23 emerging regulatory regimes such as the Digital Markets Act in the European Union, and ongoing

24 investigations and regulatory proceedings in other countries.

25            14.   Epic does not have standing to request many of the remedies it seeks. See City of
26 Los Angeles v. Lyons, 461 U.S. 95, 105 (1983) (“standing to seek an injunction” requires a

27 showing that the plaintiff “was likely to suffer future injury” from the challenged conduct

28 (emphasis added)). Epic’s apps are not listed in the Play store as a result of Epic’s intentional
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 13 of 93




 1 breach of the Developer Distribution Agreement, and therefore Epic is not subject to any of the

 2 Play prices or policies it asks the Court to regulate. Epic uses its own billing system, Epic Direct

 3 Pay, for in-app purchases, and therefore would not benefit from remedies intended to promote

 4 competition from third-party billing services. Nor would such remedies benefit Epic as a

 5 competitor in the in-app billing market because Epic has presented no evidence that it intends to

 6 offer Epic Direct Pay as a billing option for third parties.

 7            15.    Epic’s proposed injunction would apply not only to Google and its employees, but

 8 also to “all other persons acting in concert with Google and with actual notice of this Order.” To

 9 the extent this language is intended to sweep more broadly than the scope of Federal Rule of Civil
10 Procedure 65(d), it is impermissibly vague and exceeds the Court’s jurisdiction. See Regal

11 Knitwear Co. v. NLRB, 324 U.S. 9, 13 (1945) (concluding that court may not punish “the conduct

12 of persons who act independently and whose rights have not been adjudged” in the proceedings).

13 As written, Epic’s proposed language could be read to apply to an OEM, carrier, or developer that

14 has merely entered into a contract with Google and is aware of the injunction. To remedy this

15 ambiguity, Google requests that any injunction issued in this case clarify that its scope is limited to

16 the categories set forth in Rule 65(d)(2).

17            16.    Taken as a whole, Epic’s proposed remedies have the cumulative effect of
18 preventing Google from competing to the detriment of consumers, developers, OEMs, and carriers

19 across the Android ecosystem and beyond. The impact of the proposed remedies in combination,

20 requiring Google to distribute third party app stores and to make its entire app catalog available to

21 third party app stores, while simultaneously prohibiting Google from negotiating with OEMs for

22 non-exclusive placement and with developers for differentiated content, as well as chilling

23 Google’s pro-competitive agreements with OEMs and developers by restricting conduct that

24 “incentivizes” or “disincentivizes” the behavior of third parties, would make it nearly impossible

25 for Google to compete.

26            Google respectfully renews its request for the opportunity to submit further briefing
27 following the evidentiary hearing to elaborate upon the legal deficiencies in the proposed

28 injunction, address the record from the evidentiary hearing, and submit any additional evidence
     51890437.9                                       -11-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 14 of 93




 1 relevant to illustrating the flaws in the proposed injunction. Once the Court has ruled on the scope

 2 of any injunction, Google further requests the opportunity to be heard on the effective date given

 3 any technical and other considerations that may apply.

 4                   II.       PART II - ANDROID APP DISTRIBUTION MARKET

 5            A.     Part II.A.1 - Placement & Pre-Installation Terms for Third Party App Stores

 6            Epic’s proposed injunction would permanently enjoin Google from engaging in conduct

 7 that “prohibits, limits or disincentivizes the placement of, preinstallation of, and/or grant of

 8 installation permissions” by a mobile carrier or OEM “to any Android app or Third-Party App

 9 Store.” Proposed Injunction § II.A.1. The proposal would also permanently enjoin “requir[ing] or
10 incentiviz[ing] a carrier or OEM to introduce any additional steps for a User to enable or access a

11 preinstalled Third-Party App Store beyond the steps required to access the Google Play Store

12 when it is preinstalled.” Proposed Injunction § II.A.1.i.

13 Objection 1:            Epic’s proposed remedy is unnecessary to promote competition in light of
                           the provisions in the State Settlement ensuring that third-party app stores
14                         can obtain preinstallation or placement agreements.

15            1.     In the State Settlement, Google has already agreed to remedies that would prevent

16 Google from limiting the pre-installation or home screen placement of third-party app stores.

17 Google has agreed that for a period of five years it will not enter into or enforce agreements “with

18 the purpose or effect of securing preload exclusivity or home screen exclusivity of Google Play on

19 a Mobile Device.” No. 3:21-cv-05227-JD, ECF 522-2 (“State Settlement”) § 6.6.1. Google has

20 also agreed that for a period of four years, it will not enter into or enforce agreements “under

21 which an OEM would be prevented from granting installer rights . . . to preloaded applications . . .

22 with or without Google’s consent.” State Settlement § 6.7.1. Epic’s expert Dr. Bernheim is

23 therefore incorrect in his contention that the State Settlement “does not prevent Google” from

24 signing agreements like “the RSA 3.0 revenue sharing provisions.” Bernheim ¶ 30. Section 6.6.1

25 would prevent Google from signing such agreements, since those revenue sharing agreements

26 were expressly in exchange for preload exclusivity for Play.

27            2.     The agreement also provides that Google may still enforce “generally applicable”

28 policies relating to content and functionality–such as illegal content–and may adopt requirements
     51890437.9                                       -12-
                            GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                  Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 15 of 93




 1 that apply equally to all preinstalled apps to protect the user experience. State Settlement §

 2 6.7.2(a)-(b). Under Sections 6.6.1 and 6.7.1 of the State Settlement, OEMs will be free to

 3 preinstall legitimate third-party app stores without obtaining consent from Google, and Google

 4 will still be able to take basic steps to protect the user experience and user security and privacy.

 5 As the States noted in their supplemental brief, these provisions “will enable third-party app stores

 6 to enter the market by being preloaded on devices and able to install apps as seamlessly and

 7 effectively as the Google Play Store.” ECF 953 at 8. Epic’s further proposed remedy is

 8 unnecessary to promote competition and in fact would harm competition for the reasons set forth

 9 below. See Gentzkow ¶¶ 24-30.
10            3.    Epic’s expert contends that a broad prohibition on conduct that “disincentivizes”
11 OEMs from preinstalling other app stores is necessary to “prevent Google from using its control of

12 Android to impair competing app stores in other ways” beyond the conduct presented at trial.

13 Bernheim ¶ 11. But this kind of anticipatory relief is not the purpose of an injunction. As this

14 Court has explained, “Anticipatory injunctions are not going to happen. . . . I’m not going to write

15 a menu of hypothetical options that may or may not happen.” Tr. 2757:11-15.

16 Objection 2:         The proposed remedy would harm the security, privacy, and user
                        experience of Android users.
17
              1.    The proposed remedy would harm Android users because it contains no exceptions
18
     to protect user privacy and security and overall user experience. The evidence at trial—including
19
     the testimony of Epic’s own security expert—established that preventing the installation of
20
     malicious apps is critical to protecting the security of Android users. See Tr. 2147:1-7 (Mickens);
21
     Tr. 2227:9–2229:11, 2230:11-24, 2231:4-19 (Qian); Tr. 1753:19–1756:23 (Kleidermacher). The
22
     testimony at trial, including from Epic’s security expert, also established that the “permission to
23
     install other apps has pretty significant security implications.” Tr. 2197:5-10 (Mickens); Tr.
24
     1765:11-12 (Kleidermacher) (“The privilege to install apps is one of the most powerful and
25
     dangerous permissions on the operating system.”). As the States have noted, “Because Google is
26
     the developer of the Android operating system, it is reasonable to permit Google to protect user
27
     privacy and security where applications are preloaded on an Android device and then enabled to
28
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 16 of 93




 1 install other applications.” ECF 953 at 8.

 2          2.      Under Epic’s proposal, Google would be unable to adopt reasonable policies to

 3 protect users from harmful pre-installed apps or app installers—apps that have the powerful

 4 permission to install other apps. For example, under Epic’s proposal, Google would not be able to

 5 ask an OEM not to pre-install an app store that tracked a user’s location without consent or

 6 installed software that the user did not want. Epic’s proposal could also be interpreted to prohibit

 7 Google from requiring through the MADA that preinstalled apps be screened for malware.

 8 Preserving flexibility to adopt reasonable policies that protect users is important to users and the

 9 Android ecosystem generally. See Declaration of David Kleidermacher in Support of Google’s
10 Objections to Proposed Injunction (“Kleidermacher Declaration”) ¶ 26. An OEM, particularly a

11 smaller OEM, may have a financial incentive to accept a lucrative deal to pre-install an app that

12 harms users or that users do not want on their devices, leading to a poor user experience that hurts

13 the Android brand generally. The State Settlement appropriately permits Google to adopt

14 reasonable policies that address these concerns.

15          3.      The need to protect users from harmful pre-installed applications is not a theoretical

16 problem. In 2020, a group of more than 50 privacy-focused organizations, including the ACLU,

17 Amnesty International, and the Electronic Frontier Foundation, sent an open letter to Google

18 asking it to do more to protect users from harmful pre-installed apps. See id. ¶¶ 27-28, Ex. I. The

19 letter noted that OEMs “who use the Android trademark and branding” are “manufacturing

20 devices that contain pre-installed apps that . . . can leave users vulnerable to their data being

21 collected, shared and exposed without their knowledge or consent.” Id., Ex. I. The letter urged

22 Google to provide more scrutiny to pre-installed apps and to “refuse to certify a device on privacy

23 grounds, where manufacturers or vendors have attempted to exploit users in this way.” Id. Other

24 independent third parties have also identified the risk of “unwanted and potentially harmful

25 software preloaded onto new devices.” 2 As noted above, Google has taken steps to address these

26

27
     2
      Declaration of Dane P. Shikman (“Shikman Decl.”), Ex. 1, Clare Stouffer, Bloatware: What it is
28 + how to spot and remove it, Norton (Nov. 28, 2022), https://us.norton.com/blog/online-
   scams/bloatware.
   51890437.9                                    -14-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 17 of 93




 1 kinds of concerns, for example by implementing policies requiring that devices subject to the

 2 MADA scan all preinstalled apps for malware. Google’s efforts to protect users from harmful pre-

 3 installed apps and app stores requires continuous investment and innovation to combat threats as

 4 they arise. Epic’s proposal would harm users and the Android ecosystem generally by preventing

 5 Google from adopting these kinds of reasonable policies to address new threats in this area. By

 6 contrast, the provisions in the State Settlement ensure that legitimate third party stores and apps

 7 can obtain pre-installation deals while safeguarding Google’s ability to adopt and enforce pro-

 8 consumer policies.

 9 Objection 3:          The proposed remedy is overly vague and would require repeated judicial
                         intervention.
10
              1.     Epic’s proposed prohibition on conduct that “disincentivizes” or “incentivize[s]”
11
     carriers or OEMs is overly vague and will likely require repeated judicial determinations regarding
12
     the effect that particular actions are likely to have on third parties. Under Epic’s proposed
13
     formulation, Google would be forced to guess whether any action it takes might “disincentivize”
14
     an OEM or carrier from preinstalling other app stores. Epic’s expert says that the proposed
15
     injunction would not prohibit Google from entering into agreements with OEMs to preload Play,
16
     presumably including agreements that offered financial incentives for OEMs to preload Play. See
17
     Bernheim ¶ 42. But it is unclear how that assurance could be squared with the text of the
18
     proposed injunction that prohibits disincentivizing OEMs from pre-installing other app stores,
19
     since OEMs may prefer to limit the number of app stores pre-installed on their phones. Indeed,
20
     for the same reason, any efforts by Google to persuade OEMs to pre-install the Play store could be
21
     construed as disincentivizing OEMs from pre-installing other app stores. This vague standard
22
     would deter Google from entering into such agreements. This harms OEMs, who would be
23
     deprived of the opportunity to receive benefits from Google. See Gentzkow ¶¶ 26-29. This also
24
     harms users, who would end up paying higher prices for Android devices. See id. ¶ 29. In
25
     addition, this vague standard would require the Court to rule repeatedly on how particular actions
26
     are likely to affect third parties.
27

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     51890437.9                                      -15-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 18 of 93




 1 Objection 4:          A permanent injunction is unwarranted.

 2            1.     Permanently enjoining Google’s ability to negotiate for exclusive distribution

 3 agreements—especially when Google’s competitors face no such restrictions—would unfairly

 4 prevent Google and OEMs from responding to newly developed competitive conditions and could

 5 potentially result in an overly punitive remedy that does not promote competition in the market.

 6            B.     Part II.A.2 - Agreements with Actual or Potential Competing Distributors

 7            Epic’s proposed injunction would permanently enjoin Google from engaging in any

 8 conduct that “requires” or “incentivizes” any “potential or actual” provider of an alternative app

 9 store (a “Competing Distributor”) to “scale back, refrain from increasing investment into, or
10 abandon its distribution of Android apps or its entry into the distribution of Android apps.”

11 Proposed Injunction § II.A.2.

12            In addition, the proposed injunction would also specifically prohibit Google from offering
13 “any Competing Distributor” (i) “a share of revenues from, or related to, the Google Play Store” or

14 (ii) “any share of revenues, from any source, that is tied to, related to, or conditioned on the

15 development, preinstallation, launch or placement of any Alternative Android App Distribution

16 Channel.” Proposed Injunction § II.A.2(i)-(ii).

17            Finally, Google would be required to include, in any agreement with a Competing
18 Distributor, a statement that nothing in the agreement is “conditional on the Competing

19 Distributor’s” activities with respect to an Alternative Android App Distribution Channel.

20 Proposed Injunction § II.A.2(i)-(iii).

21 Objection 1:          Epic’s proposed remedy is unnecessary in light of the provisions in the
                         State Settlement addressing pre-installation agreements.
22
              1.     As noted above, the State Settlement already includes several remedies addressing
23
     preinstallation restrictions. In the State Settlement, Google has agreed that for a period of five
24
     years it will not enter into or enforce agreements “with the purpose or effect of securing preload
25
     exclusivity or home screen exclusivity of Google Play on a Mobile Device.” State Settlement §
26
     6.6.1. Likewise, Google has agreed that, for a period of four years, it will not enter into or enforce
27
     agreements “under which an OEM would be prevented from granting installer rights . . . to
28
     51890437.9                                       -16-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 19 of 93




 1 preloaded applications . . . with or without Google’s consent.” State Settlement § 6.7.1. These

 2 provisions “will enable third-party app stores to enter the market by being preloaded on devices

 3 and able to install apps as seamlessly and effectively as the Google Play Store.” ECF 953 at 8.

 4 Epic’s further proposed remedy is unnecessary in light of these provisions.

 5            2.    Epic’s expert contends that a broad prohibition on conduct that “incentivizes”

 6 potential competitors is necessary to “preclude Google from circumventing” other provisions of

 7 the proposed injunction “by creating other disincentives for OEMs to launch their own app stores”

 8 beyond the conduct presented at trial. Bernheim ¶ 11. But this kind of anticipatory relief is not

 9 the purpose of an injunction. As this Court has explained, “[a]nticipatory injunctions are not
10 going to happen . . . . I’m not going to write a menu of hypothetical options that may or may not

11 happen.” Tr. 2757:11-15.

12 Objection 2:         The proposed remedy is overly vague and would, as a result, require
                        repeated judicial intervention and chill competition to the detriment of
13                      OEMs and developers.

14            1.    Epic’s proposal does not provide sufficient detail for Google to understand what

15 conduct will be enjoined. Describing the prohibited conduct in terms of any actions that

16 “incentivize” particular behavior by any “potential or actual” “Competing Distributor” renders the

17 bounds of the prohibited conduct unclear. Epic has argued that OEMs and large app developers

18 could build their own Android app distribution channels. But OEMs and app developers are also

19 customers of Google. When it comes to app distribution, they face a choice of whether to buy

20 Google’s services or make their own competing services. See Gentzkow ¶ 37. The evidence at

21 trial showed that many developers would prefer not to expand their own business to take on the

22 challenges of direct distribution themselves. See ECF 915-1 at 206–207 (Zerza Trial Designations

23 237:17-239:11). There are a variety of reasons for that decision, including the cost and time

24 associated with building an app distribution channel and the strategic priorities of the developer or

25 OEM. Any offer that makes it more attractive to buy Google’s distribution services by definition

26 makes the alternative choice to launch competing services comparatively less attractive. See

27 Gentzkow ¶¶ 37-38. Therefore, any competitive offer by Google that could “incentivize” any

28 OEM to pre-install the Play store, or “incentivize” a large developer to list its apps in the Play
     51890437.9                                      -17-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 20 of 93




 1 store, could potentially be construed, simultaneously, as an incentive for that OEM or developer to

 2 “abandon…its entry into the distribution of Android apps” by choosing Play instead of creating

 3 their own app store. See Gentzkow ¶ 39.

 4            2.   This possibility renders Epic’s proposed injunction hopelessly vague. For example,

 5 would Google violate the proposed injunction if a large games developer asked Google for

 6 promotional or advertising credit in connection with the launch of a new title on Play, since

 7 providing a game developer with an advertising credit could convince that developer to distribute

 8 on Play rather than develop its own Android distribution channel? Epic’s proposed injunction

 9 calls into question Google’s ability to offer such incentives even to those developers who, for the
10 reasons discussed above, have no intention of launching their own app store. Similarly, would

11 Google violate this provision if it enters into an agreement with an OEM in which the OEM agrees

12 to preload and distribute Play on the OEM’s devices in exchange for some form of compensation?

13 Because some OEMs may prefer to limit the number of stores preloaded on their devices, Epic’s

14 proposed injunction could be construed to prohibit an agreement offering an OEM a better deal to

15 preinstall Play, even if the OEM had no intention of developing its own store. The vagueness of

16 Epic’s proposed remedy would deter Google from entering into these kinds of agreements, to the

17 detriment of developers and OEMs and ultimately users. And because the line between

18 permissible and prohibited conduct depends on whether and to what extent that conduct

19 “incentivizes” third parties, Epic’s proposed remedy would require repeated rulings by the Court

20 on these and similar questions.

21            3.   The carveout in Epic’s proposed injunction for “bona fide competition on the
22 merits,” see Proposed Injunction at 8, does not cure the vagueness of this provision. “Bona fide”

23 competition is not defined, and the examples provided in the injunction are narrowly

24 circumscribed. Specifically, Google is limited to making certain specified improvements to the

25 Play store and communicating about the benefits of the Play store. But the carveout says nothing

26 about other types of improvements to the Play store, nor about providing incentives to OEMs and

27 developers to choose Play.

28            4.   Finally, Epic’s proposed injunction prohibits Google offering a share of revenue
     51890437.9                                     -18-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 21 of 93




 1 “from” or “related to” the Google Play store. The term “related to” is broad and unduly vague in

 2 this context. Epic has not identified the circumstances under which revenue would not be “from”

 3 the Play store but would be “related to” the Play store.

 4 Objection 3:         The proposed remedy would harm OEMs, consumers, developers, and
                        competition.
 5
              1.    In addition to deterring Google from entering into agreements that would benefit
 6
     OEMs and developers, the proposed remedy further harms OEMs, consumers, and developers by
 7
     expressly prohibiting Google from offering certain incentives, including a share of revenues
 8
     “related” to the Play store. By limiting Google’s ability to offer OEMs value to preinstall Play,
 9
     this proposed remedy would reduce the value that OEMs can earn from preinstallation and
10
     placement on their devices. See Gentzkow ¶¶ 26-29, 39-40. This would harm not only OEMs but
11
     also consumers of Android devices. See id. ¶ 29. The evidence at trial showed that OEMs have
12
     very narrow margins, see ECF 915-1 at 264 (Christiansen Designations 43:9-44:5), and a number
13
     of Android OEMs have exited the market. See Gentzkow ¶ 29 & n.46. If OEMs’ revenue from
14
     placement goes down, then their margins will fall and they will face pressure to increase device
15
     prices, which in turn would harm consumers. See Gentzkow ¶ 29. An injunction that harms
16
     downstream consumers is not “an appropriate way to remedy an antitrust violation.” Microsoft,
17
     373 F.3d at 1211. Moreover, if Android devices become more expensive, that would impair
18
     Android’s ability to compete with iOS, which would enable Apple to raise prices of its devices as
19
     well. See Gentzkow ¶¶ 29, 120.
20
              2.    At the same time, Google’s competitors will remain free to offer OEMs incentives,
21
     including revenue share, to promote their stores. For example, Epic could offer an OEM an
22
     incentive based on sharing revenues from its forthcoming Android app store–or even from its
23
     multi-billion dollar Fortnite franchise on gaming consoles and desktops–but Google would be
24
     prevented from matching such an offer, harming Google’s ability to compete. See Gentzkow
25
     ¶¶ 39-40. This proposed remedy would obviously benefit Epic, which would not have to compete
26
     with Google in its negotiations with OEMs, but would harm the OEMs themselves, as well as
27
     developers, consumers, and Android users. See id. To take an extreme example, Epic could offer
28
     51890437.9                                      -19-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 22 of 93




 1 an OEM a share of its revenue not to preinstall the Play store, and the plain language of the

 2 proposed injunction could be read to prevent Google from responding to that offer.

 3            3.   Likewise, because Epic has argued that large developers can be “Competing

 4 Distributors,” the proposed remedy limits Google’s ability to offer incentives to large developers,

 5 which will harm competition for the business of these developers. At the same time, Google’s

 6 competitors would be able to offer incentives to app developers to distribute on their stores. Here

 7 again, this proposed remedy would benefit Epic, which would not have to compete with Google in

 8 its offers to developers, but would harm the developers themselves.

 9 Objection 4:        The remedy is overbroad.
10            1.   This proposed remedy is overbroad in that it would prevent Google from offering

11 to OEMs under any circumstances a revenue share that is “related” to Google Play. As discussed

12 above, Google has agreed as part of the State Settlement not to enter into agreements (akin to the

13 RSA 3.0 agreements discussed at trial) under which OEMs would preinstall the Play store

14 exclusively in exchange for a share of Play revenue. But Epic does not explain why Google

15 should be prevented from entering into revenue sharing agreements with no exclusivity

16 provision—for example, an agreement that an OEM will preinstall the Play store in exchange for a

17 share of Play revenue, while preserving the ability to preinstall other app stores on its phones. As

18 noted, OEMs have very narrow margins, see ECF 915-1 at 264 (Christiansen Designations 43:9-

19 44:5), and a number of Android OEMs have exited the market. See Gentzkow ¶ 29 & n.46.

20 Limiting Google’s ability to bid for preinstallation on OEM devices will further pressure OEM

21 margins. As noted above, if OEMs’ revenue from placement goes down, then their margins will

22 fall and they will face pressure to increase device prices, which in turn would harm consumers.

23 See Gentzkow ¶ 29.

24 Objection 5:        A permanent injunction is unwarranted.

25            1.   Permanently enjoining Google’s ability to offer developers or OEMs revenue

26 shares and other incentives to select Google Play as a non-exclusive or exclusive app store would

27 unfairly prevent Google from responding to newly developed competitive conditions and could

28 result in an overly punitive remedy that does not promote competition in the market.
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 23 of 93




 1            C.       Part II.A.3 - No Exclusivity

 2            Epic’s proposed injunction would prohibit Google from entering into agreements or

 3 otherwise engaging in conduct that “incentivizes” exclusive distribution of individual Android

 4 apps on the Google Play store. Epic’s proposed injunction purports to prohibit both the exclusive

 5 distribution of Android apps and Google’s ability to offer exclusive content via the Google Play

 6 version of an Android app.

 7 Objection 1:           Epic’s proposed remedy is unnecessary in light of the provisions in the
                          State Settlement addressing exclusivity.
 8
              1.       The State Settlement already prohibits Google from entering into exclusivity
 9
     agreements with developers on a catalog-wide basis. See State Settlement § 6.5. This provision
10
     allows other app stores to compete with Google for exclusivity rights on an app-by-app basis, but
11
     without having to outbid Google for exclusivity rights to a developer’s entire catalog. Moreover,
12
     the State Settlement allows other app stores to negotiate catalog-wide exclusivity deals with
13
     developers even though Google cannot, giving other app stores an advantage in the competition
14
     with Google for developer agreements. Epic’s proposed further remedy is unnecessary in light of
15
     this provision.
16
     Objection 2:         Epic’s proposed remedy is not supported by the trial record.
17
              1.       Epic presented no evidence at trial regarding exclusive agreements with developers.
18
     See Bernheim ¶ 46. Accordingly, there is no basis to prevent Google from entering into
19
     exclusivity deals with developers on an app-by-app basis. As Epic acknowledges, the Project Hug
20
     agreements did not require any developer to distribute their apps or content exclusively through
21
     the Play Store. Bernheim ¶ 46. Instead, Epic seeks to enjoin conduct that “go[es] beyond”
22
     conduct that the jury examined in order to “prevent Google from adopting alternative strategies” to
23
     maintain its market position. Bernheim ¶ 46. It is inappropriate for Epic to restrain conduct that
24
     the jury never even considered, and without any evidence to support that such a restriction is
25
     necessary, see Microsoft, 224 F. Supp. 2d at 146, or that it bears any “causal connection” to the
26
     violations found at trial, Optronic Techs., 20 F.4th at 486.
27

28
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                            GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                  Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 24 of 93




 1 Objection 3:         Epic’s proposed injunction is overly vague and would require repeated
                        judicial intervention.
 2
              1.    Epic’s proposed prohibition on conduct that “incentivizes” developers to behave in
 3
     a certain way is impermissibly vague. Suppose, for example, that Google offers financial
 4
     incentives to a developer to distribute their app on Play without any request for exclusivity, and
 5
     the developer then decides to distribute only through the Play store because it meets all of the
 6
     developer’s needs at an attractive price. Would that offer violate this vague injunction by
 7
     “incentivizing” exclusive distribution through Play? If so, the proposed injunction risks chilling
 8
     competitive offers that benefit developers. See Gentzkow ¶¶ 39, 51. Dr. Bernheim highlights the
 9
     ambiguity in his report, saying that this provision “does not prevent developers from distributing
10
     solely through Google Play Store if they choose, as long as Google does not elicit that exclusivity
11
     through financial incentives.” Bernheim ¶ 47. Dr. Bernheim never explains what he means by
12
     “elicit,” leaving Google to guess what it can do to attract developers to its store, even if they are
13
     free to choose whether to distribute solely through Google Play or through multiple stores.
14
     Distinguishing incentives that result in exclusivity for procompetitive reasons from
15
     anticompetitive incentives for exclusivity would be unmanageable and would require the Court to
16
     examine agreements between Google and developers regarding specific apps (including app
17
     updates and/or app versions) and adjudicate disputes indefinitely.
18
     Objection 4:       Epic’s proposed remedy would harm developers and consumers.
19
              1.    This proposed remedy would harm developers by preventing them from negotiating
20
     beneficial terms for exclusive distribution of their apps or exclusive content within their apps. See
21
     Gentzkow ¶¶ 51-54. Under Epic’s proposal, competing Android app stores (including Epic)
22
     would be permitted to negotiate such exclusive deals, but Google would not be allowed to
23
     negotiate any. Accordingly, rival app stores could win exclusivity by offering developers less
24
     favorable terms knowing that Google cannot make any competing offer, which would result in less
25
     valuable deals for developers. See Gentzkow ¶¶ 46-47; Nat’l Soc. of Pro. Eng’rs v. United States,
26
     435 U.S. 679, 695 (1978) (“The assumption that competition is the best method of allocating
27
     resources in a free market recognizes that all elements of a bargain . . . are favorably affected by
28
     51890437.9                                       -22-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 25 of 93




 1 the free opportunity to select among alternative offers.”); see, e.g., ECF 915-1 at 198 (Zerza

 2 Designations 213:20-23; 214:4-16) (describing negotiations with Google). For example, if the

 3 Amazon App Store offered a developer an exclusive deal for a new game, the developer would be

 4 unable to ask Google for a more lucrative offer, which the developer could accept or counter-

 5 propose to the Amazon App Store to increase the value the developer would receive from

 6 Amazon. Restraining Google in this way would reduce the amount that Amazon would have to

 7 bid for exclusive distribution, benefitting Amazon, but harming the developer and the competitive

 8 process.

 9          2.      Epic’s remedy would also prevent Google from working with developers to provide
10 any exclusive content through apps distributed in the Play Store, even though competing app

11 stores can enter deals to offer their own exclusive content. For example, a game developer may

12 want to offer an exclusive character outfit (e.g., “skin”) on Play and a different “skin” on the

13 Galaxy Store, as promotional offers to increase engagement with their users. Epic’s remedy

14 would prevent Google from competing for users by working with developers to create such

15 promotional offers in Play, a common retail practice, meaning developers would lose the

16 opportunity to receive the benefits of such promotions from Play. 3

17 Objection 5:        A permanent injunction is unwarranted and unnecessary.

18          1.      Permanently enjoining Google’s ability to negotiate for exclusivity arrangements

19 would unfairly prevent Google and developers from responding to newly developed competitive

20 conditions and could potentially result in an overly punitive remedy that does not promote

21 competition in the market.

22          D.      Part II.A.4 - No MFNs or Limits on Differentiated Content

23          Epic’s proposed injunction would prohibit Google from negotiating any agreements with

24 developers that include sim-ship, content parity, or price parity provisions, or even to offer any

25 incentives that could encourage developers to launch an app on Play at the same time they launch

26

27
     3
     Notably, Google’s Project Hug agreements never prevented developers from working with other
28 app stores on this type of exclusive content or offers since the feature parity provision in those
   agreements was limited to “core game content or quality.” See e.g., ECF 886-9, Trial Ex. 153-004.
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 26 of 93




 1 that Android app elsewhere.

 2 Objection 1:         Epic’s proposed remedy is unnecessary to promote competition in light of
                        the provisions in the State Settlement addressing sim-ship and parity
 3                      agreements.

 4            1.    Google has already agreed to certain restrictions on sim-ship and parity agreements

 5 as part of the State Settlement. Under the State Settlement (Section 6.5), Google is prohibited

 6 from entering into catalog-wide sim-ship or parity agreements regarding Android apps, i.e.,

 7 agreements that require developers to launch all of their apps and features for all of those apps on

 8 Google Play at the same time as they are launched on any other Android app store, for at least four

 9 years. Google is permitted to negotiate sim-ship or parity agreements on an app-by-app basis, and
10 further may negotiate catalog-wide agreements after two years, if the alternative app stores at issue

11 are well resourced (i.e., annual revenue over $100 billion). This means that other app stores could

12 negotiate first release (or exclusive) deals for all of a developer’s apps, but Play generally would

13 be limited to negotiating such deals on an app-by-app basis. Thus, contrary to Epic expert’s

14 contention, Bernheim ¶ 31, the State Settlement makes it easier for other Android app stores to

15 partner with developers to launch unique content in Android apps outside of the Play store,

16 because those other app stores will not have to match bids from Google offering developers

17 incentives to launch all of their apps, content, or features on the Play store at the same time.

18 However, the State Settlement makes clear that Google can compete for sim-ship or parity

19 provisions for specific apps (or content in those apps), which preserves a developer’s ability to

20 benefit from competition between Play and other Android app stores with respect to the

21 developer’s individual apps. In light of this provision in the State Settlement, Epic’s proposed

22 further remedy is unnecessary.

23 Objection 2:         Epic’s proposed remedy would harm developers.
24            1.    Epic’s proposal that Google be prohibited from entering into any agreements with

25 developers that include sim-ship, content parity, or price parity provisions, even on an app-by-app

26 basis, would harm developers. For example, absent Epic’s proposal and consistent with the State

27 Settlement provisions, if a competing app store such as OPPO offered a developer an incentive to

28 launch a core feature or content in a single app exclusively through the OPPO app store, then
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 27 of 93




 1 Google could respond with a competing offer to entice the developer to launch that core feature or

 2 content on the Play store at the same time. See Gentzkow ¶¶ 43, 46. As a result, to win an

 3 exclusive arrangement for that feature or content, OPPO would have to offer the developer even

 4 more than it would have otherwise. This allows rival app stores to pursue “opportunities to

 5 engage users through the provision of unique content,” while allowing the competitive bidding

 6 process to continue, which benefits developers. See Bernheim ¶ 49. Under Epic’s proposal,

 7 however, Google would not be able to make a competing offer to developers, meaning (in this

 8 example) that OPPO would not have to improve its terms to obtain unique content and the

 9 developer would end up worse off. See Gentzkow ¶47. Accordingly, this proposed remedy would
10 be a handout to well-funded rivals at the expense of developers. See Microsoft, 373 F.3d at 1230

11 (“[T]o have addressed itself narrowly to aiding specific competitors . . . could well have put the

12 remedy in opposition to the purpose of the antitrust laws.”) (citing Brooke Grp. Ltd. v. Brown &

13 Williamson Tobacco Corp., 509 U.S. 209, 224 (1993) (antitrust laws designed to protect

14 “competition, not competitors”)).

15            2.   Similarly, developers would also be harmed if Google is permanently prevented
16 from competing against well-resourced Android app stores for sim-ship or parity deals with

17 developers on a catalog-wide basis. See Gentzkow ¶¶ 48-50. The State Settlement appropriately

18 permits Google to pursue those deals after two years when the alternative app stores in question

19 are “owned or controlled by a company with annual revenues exceeding $100 billion.” State

20 Settlement § 6.5.2(b). Epic’s expert claims, without any evidence or support, that such an

21 exemption is “ill-conceived,” because “vulnerability to network externalities is not primarily a

22 function of a rival’s resources.” Bernheim ¶ 31. There is no evidence to support this assertion,

23 and it makes no sense. An Android app store run by a company with more than $100 billion in

24 revenues (such as Microsoft) will be able to devote greater resources to combating network effects

25 by offering developers substantial money or other benefits to list their apps or exclusive content in

26 its store. See Gentzkow ¶ 50. As Epic’s expert testified at trial, this is an important “way that

27 companies often successfully break into markets.” Tr. 2400:20–2401:15 (Bernheim). And in any

28 case, developers will be harmed if Google is prohibited from competing with well-resourced
     51890437.9                                     -25-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 28 of 93




 1 Android app stores to offer catalog-wide deals because those rival app stores will bid less if they

 2 do not have to bid against offers from Google Play. See Gentzkow ¶ 47.

 3 Objection 3:         A permanent injunction is unwarranted and unnecessary.

 4            1.     Google further objects to this proposed remedy on the ground that a permanent

 5 injunction is unwarranted in light of the “substantial uncertainty” about the future of a rapidly

 6 evolving mobile app industry. New York v. Microsoft, 224 F. Supp. 2d 76, 183 (D.D.C. 2002).

 7 The announcements by Microsoft and Epic regarding their intentions to launch Android games

 8 stores are just some examples of the dynamic nature of the industry. See Gentzkow ¶ 19.

 9 Permanently enjoining Google’s ability to negotiate for parity or timing arrangements would
10 unfairly prevent Google from responding to newly developed competitive conditions and could

11 potentially result in an overly punitive remedy that does not promote competition in the market,

12 including the development of well-resourced app stores after two years. The State Settlement

13 appropriately recognizes the dynamic nature of the industry, as the restrictions on parity

14 provisions are limited to a time period of at least four years.

15            E.     Part II.A.5 - No Restrictions on Removal of Developer Apps from the Google
                     Play Store
16
              Epic’s proposed injunction would prohibit Google from requiring “Google’s consent” to
17
     withdraw an app from the Play store.
18
     Objection:         Epic’s proposed remedy would harm developers.
19
              1.     This proposed remedy would harm developers by preventing Google from entering
20
     into any agreement that provides an incentive for a developer to distribute their apps in the Play
21
     store, even in the absence of an exclusivity provision. The evidence at trial established that, as a
22
     general matter, the Developer Distribution Agreement allows developers to remove their apps
23
     from the Play store at their own discretion and without Google’s consent. See ECF 888-84, Trial
24
     Ex. 10883-002 § 8.1 (“You may remove Your Products from future distribution via Google Play at
25
     any time.”). The only effect of this proposed remedy would be to prevent Google from entering
26
     into any agreements that provide incentives to developers to distribute their apps in the Play store,
27
     including non-exclusive agreements and agreements with no parity provisions. For example, a
28
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 29 of 93




 1 simple agreement providing incentives to Developer A to list its app in the Play store–with no

 2 exclusivity and no parity requirements–must include a provision that prohibits Developer A from

 3 removing their app from the Play store during the pendency of the agreement. Otherwise, Google

 4 would have no way to ensure that it obtained the benefit of the bargain. See, e.g., Tr. 469:8-12

 5 (Koh). Epic fails to acknowledge that the only evidence at trial regarding the removal of apps

 6 from Play confirms that such provisions were limited to developers who were otherwise receiving

 7 benefits and incentives from Google in exchange for distributing their app on Play, and was not a

 8 blanket restriction. Bernheim ¶ 50. On this record, Epic cannot show that it faces a significant

 9 threat of irreparable injury as required to have standing to seek injunctive relief, nor could it as
10 Epic’s apps are not even available in the Play store today.

11            2.      Epic presented no evidence at trial that a non-exclusive incentive without any
12 parity term would harm competition. Yet this proposed remedy would effectively foreclose

13 Google from entering into such agreements, and therefore would deprive developers of the

14 opportunity to receive any incentives from Google in exchange for listing their apps in the Play

15 store. This will, in turn, reduce the value that developers are able to receive from agreements to

16 distribute their apps on Android. See Gentzkow ¶¶ 48-50.

17            F.     Part II.B.1 & B.2 - Parity of Install Flow Regardless of Source
18            Epic’s proposal regarding the “install flow” is complex and difficult to understand, so

19 Google’s description below reflects its best understanding of the proposal.

20            Under paragraph II.B.I, Google would be permanently enjoined from conduct that

21 “prohibits or disincentivizes” a user from installing, downloading or “granting [] permissions” of

22 an app through any alternative distribution channel, including sideloading (i.e., direct downloading

23 of apps from the internet). To implement that general standard, Google must comply with the

24 following:

25            First, for Third-Party App Stores, including stores downloaded from the internet, Google

26 cannot require any “friction”—such as prompts, warnings, and reminders—beyond the “friction”

27 associated with the Google Play store.

28            Second, for other methods of app distribution (e.g. direct downloading from a web
     51890437.9                                       -27-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 30 of 93




 1 browser, an email app, or a peer-to-peer file sharing app), Google cannot require any “friction”

 2 other than “a single one-tap screen asking in neutral language that the user confirm intent to

 3 proceed with app installation.”

 4            Third, on any given device, Google must impose the same “friction” to downloads from

 5 the Google Play store as the “friction” that applies to any downloads from other sources—even if

 6 the friction that applies to other sources was imposed by an OEM or Carrier and not Google. So,

 7 for example, if an OEM or cell carrier sought to warn users about downloading apps from the

 8 internet, Google might be required to provide that same warning in the Google Play store.

 9            Notwithstanding the above requirements, Epic has proposed two exceptions in paragraph
10 II.B.2: (1) Google may include a single one-tap screen asking the user to allow a web browser or

11 third-party app store to install other apps upon the first installation attempt and (2) Google may

12 also include additional “friction” in the case of apps or stores that are “known malware” or that

13 fail to submit themselves to a “generally available, distribution-channel-agnostic notarization-like

14 process.” Google does not have such a process today, and Epic does not identify any existing

15 “generally available, distribution-channel-agnostic notarization-like process,” so Google’s best

16 understanding of this provision is that, in order to provide any sideloading warnings, Google

17 would have to create and administer this “notarization-like process” itself. Proposed Injunction

18 § II.B.2.

19            Taken together—and as best as Google can understand them—these provisions would have
20 the following cumulative effect: Apps that are installed from any website (regardless of the

21 website) or from any app that purports to be an “app store” must receive the same installation

22 experience as on the Google Play store, except that (1) Google may stop the installation of known

23 malware (but not suspected malware), (2) Google may create a “notarization-like” process and

24 then warn the user about apps that fail to go through that process, and (3) Google may ask the user

25 for consent one time before permitting an app to begin installing other apps. Google would not be

26 permitted to take any other action that would “disincentivize” a user from sideloading apps,

27 regardless of the security risks. For example, Google would not be able to warn users about the

28 risks of sideloading.
     51890437.9                                     -28-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 31 of 93




 1 Objection 1:         Epic’s proposed remedy would severely harm Android users by making
                        them less secure and is unnecessary in light of the provisions of the State
 2                      Settlement.

 3            1.    Epic’s proposed remedy is a significant threat to the basic security of Android and

 4 its users because it would severely curtail Google’s ability to protect users from malicious apps.

 5 See Declaration of David Kleidermacher in Support of Google’s Objections to Proposed

 6 Injunction (“Kleidermacher Declaration”) ¶¶ 2-25. The evidence introduced at trial was

 7 undisputed that malware is both pervasive and highly damaging to users. Malware can come from

 8 many sources: well known developers, organized criminal gangs, state sponsored attackers, and

 9 teenagers just trying to make a point. Tr. 1754:4-16 (Kleidermacher). Both Google’s expert, Prof.
10 Qian, and David Kleidermacher, the head of Android security, testified regarding the risks of

11 malware and why it is reasonable to warn users about the risks of sideloading. Tr. 1770:1-18

12 (Kleidermacher); Tr. 2225:18–2226:24, Tr. 2227:9–2228:2 (Qian). For example, Mr.

13 Kleidermacher testified about the FluBot virus, which spread to hundreds of millions of devices

14 through sideloading and then attempted to use sensitive permissions to steal the user’s financial

15 information and then “completely wipe [the user] out.” Tr. 1755:5–1756:23 (Kleidermacher).

16 Android’s sideloading warnings reduced the harm from this malicious campaign. Id. Epic’s own

17 expert, Dr. Mickens, acknowledged that “sideloading can result in malware infections,” that “[a]ll

18 apps on Google Play are reviewed for malware,” and that, by contrast, “a sideloaded app may or

19 may not have been reviewed for malware.” Tr. 2186:7-18 (Mickens). He also admitted that

20 Google’s existing sideloading screens should not be removed but only “compressed.” Tr. 2147:4-7

21 (Mickens). Under Epic’s proposal, however, Google would not be able to take common-sense

22 actions such as: (1) warning users about the risks of enabling sideloading, (2) warning a user about

23 an app installation if the app is not yet known to be malware (itself often a subjective standard) but

24 still raises many red flags, (3) warning a user who is about to install an app about vulnerabilities in

25 the app (e.g. the use of out-of-date software) that could expose the user to harm, and (4) blocking

26 sideloaded apps from accessing certain high risk functionality on Android devices that could put

27 users at risk. Limiting Google’s ability to take these actions would be an extremely poor outcome

28 for users and for the entire Android platform and would impair, rather than promote, competition
     51890437.9                                      -29-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 32 of 93




 1 between Android phones and iPhones by making Android less secure. See Kleidermacher

 2 Declaration ¶¶ 9, 11.

 3          2.      For example, under Epic’s proposal, Google can provide warnings only for

 4 “known” malware (unless Google adopts an as-yet non-existent notarization process that is

 5 addressed in objections below). This is a very significant limitation that would degrade user

 6 security and privacy. See Kleidermacher Declaration ¶¶ 3-4, 8-9. When a user attempts to

 7 sideload an app, Google will often not “know” that the app is malware. Id. Instead, Google

 8 provides a general warning regarding sideloading when the user enables sideloading, and it may

 9 provide additional warnings if it identifies additional risk signals for an app, see id. Epic’s
10 proposal will prevent Google from providing commonsense warnings in these scenarios.

11          3.      Government agencies and industry participants in the United States and
12 internationally have recognized that sideloading creates an elevated risk of malware attacks. See

13 Kleidermacher Declaration ¶¶ 5-6, Ex. A. Epic’s proposal would limit Google’s ability to address

14 existing risks flowing from sideloading as well as any new risks that may arise in the future. See

15 id. ¶¶ 8-9.

16          4.      In the United States, the federal Cybersecurity and Infrastructure Security Agency
17 warns users: “Reduce the risk of downloading PHAs by limiting your download sources to official

18 app stores, such as your device’s manufacturer or operating system app store? . . . Do not

19 download from unknown sources.” 4 Tr. 2183:17–2185:17 (Mickens) (discussing guidance).

20          5.      Likewise, the California Attorney General’s office tells users to avoid sideloading

21 to protect themselves from malware: “To avoid spyware in the first place, download software

22 only from sites you know and trust. Make sure apps you install on a mobile device come from the

23 Apple App Store for iPhones or Google Play for Android devices.” 5

24          6.      Europol’s European Cybercrime Center has similarly warned users to “[s]hop at

25
     4
26   Shikman Decl., Ex. 2, Cybersecurity & Infrastrature Sec. Agency, CISA, Privacy and Mobile
   Device Apps (Dec. 18, 2022), https://www.cisa.gov/news-events/news/privacy-and-mobile-
27 device-apps.
   5
     Shikman Decl., Ex. 3, Off. of Atty. Gen., Cal. Dep’t of Justice, Protect Your Computer from
28 Viruses, Hackers, and Spies, https://oag.ca.gov/privacy/facts/online-privacy/protect-your-
   computer.
   51890437.9                                      -30-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 33 of 93




 1 reputable app stores” and to be “cautious of links . . . that might trick you into installing apps from

 2 third party or unknown sources.” Kleidermacher Decl., Ex. A at 1.

 3            7.      In addition, Samsung has warned users that “sideloaded apps from outside sources

 4 can be a little like the Wild West—unregulated and potentially hazardous. The reason? They may

 5 carry hidden malware designed to compromise your device or even your personal information.”

 6 Id., Ex. B at 2.

 7            8.      Former national security officials have recognized the risk of sideloading and the

 8 risk that malware attacks can post to national security. See Brief of Amici Curiae Former National

 9 Security Officials and Scholars at 6-7, 11-12, Epic Games, Inc. v. Apple, Inc., No. 21-16506 (9th
10 Cir. Mar. 31, 2022), ECF 101.

11            9.      Similarly, outside the United States, some government agencies have asked Google
12 to take additional measures to protect users from the risks of sideloading by blocking sideloading

13 or making it more difficult. See Kleidermacher Decl. ¶¶ 15-20. Epic’s proposal would jeopardize

14 Google’s ability to work with these agencies to protect users. Not only will users in those

15 countries remain at higher risk of abuse, foreign governments’ interest in protecting their

16 consumers will be frustrated. See also Section VI (Geographic Scope).

17            10.     In Singapore, for example, Google has collaborated with the government’s Cyber
18 Security Agency (CSA) to test and deploy new technology designed to reduce financial fraud from

19 malicious apps by blocking the installation of apps with a high risk of engaging in financial fraud.

20 See Kleidermacher Decl. ¶¶ 15-18, Ex. F. This pilot was initiated after the Singaporean CSA

21 contacted Google to express concern about scammers “tricking victims into sideloading mobile

22 apps containing malware” and to propose that Google explore the possibility of “disallow[ing]

23 sideloading or mak[ing] sideloading more difficult.” See id., Ex. F, ¶¶ 17-18.

24            11.     Other governments have requested that Google consider similar initiatives to make
25 sideloading more difficult in an effort to deter fraud. Thailand’s Minister of Digital Economy and

26 Society recently contacted Google to express support for expanding the Singapore pilot in

27 Thailand because “many Thai people have fallen victim to these [financial] scams [and] at least

28 over five hundred million US dollars have been lost.” See id., ¶¶ 19-20, Ex. G.
     51890437.9                                       -31-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 34 of 93




 1            12.   In Brazil, the Brazilian Federation of Banks has similarly requested that Google

 2 “restrict sideloading entirely or make it significantly more difficult” because of “a worrying trend

 3 of financial scams utilizing malicious mobile apps” where scammers “trick users into sideloading

 4 apps containing malware.” See id. ¶¶ 21-22, Ex. H.

 5            13.   Users in the United States and around the world will also be put at even greater

 6 risks as malware evolves and becomes more sophisticated. There is “substantial uncertainty”

 7 about how malware will behave even a year from now—let alone indefinitely–and it is difficult to

 8 predict what effect Epic’s proposed injunction will have “a decade from now.” New York v.

 9 Microsoft, 224 F. Supp. 2d 76, 183-84 (D.D.C. 2002) (expressing doubt about long-term
10 injunctive relief in light of “constant and rapid change” in technology). The Court should not tie

11 Google’s hands in protecting users by narrowly constraining the types of actions that Google can

12 take to prevent and warn users about malware, and it certainly should not do so for an indefinite

13 duration.

14            14.   Finally, Epic’s proposal is unnecessary in light of the provisions of the State
15 Settlement. As noted above, Epic’s expert, who was also retained by the States, testified at trial

16 that Google should not eliminate Android’s sideloading warnings; rather it should “compress[]”

17 them. Tr. 2147:1-8 (Mickens). That is exactly what Google has agreed to do in the State

18 Settlement. Under the State Settlement, a user will be able to enable app installation from a new

19 source on a single screen. State Settlement § 6.10.1. That screen will have language that notifies

20 the user, in a neutral way, about the potential risk of sideloading. State Settlement § 6.10.1. The

21 States have agreed that Google can use the following language, or its equivalent. “Your phone

22 currently isn’t configured to install apps from this source. Granting this source permission to

23 install apps could place your phone and data at risk.” Id. § 6.10.1(c). The user will not be required

24 to visit the device’s settings to enable sideloading. See id. § 6.10.1(a). The State Settlement

25 draws an appropriate balance between addressing the risks of sideloading and addressing

26 complaints that sideloading warnings are too burdensome or scary for users to navigate. In light

27 of these provisions, Epic’s proposed further remedy is unnecessary to promote competition.

28
     51890437.9                                      -32-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 35 of 93




 1 Objection 2:         The proposed remedy is inconsistent with the trial record and goes beyond
                        the jury verdict.
 2
              1.    At trial, the evidence showed that Android’s warnings for sideloading are not
 3
     difficult-to-navigate ‘scare’ screens but, instead, are prudent warnings that ensure that users are
 4
     apprised of the risk of sideloading and can make an informed decision. See ECF Nos. 888-053,
 5
     888-054, 888-055, Trial Ex. 9051, 9052, 9053 (videos of actual sideloading process); Tr. 1770:1-
 6
     18 (Kleidermacher) (describing importance of sideloading warnings from a security perspective);
 7
     Tr. 2225:18-2226:24, 2227:9-2228:2 (Qian) (same); Tr. 2233:11-2234:7 (Qian) (explaining that
 8
     more than half of Android devices had enabled sideloading at least once). Epic’s own expert,
 9
     Prof. James Mickens, acknowledged that “sideloading can result in malware infections,” that “[a]ll
10
     apps on Google Play are reviewed for malware,” and that, by contrast, “a sideloaded app may or
11
     may not have been reviewed by malware.” Tr. 2186:7-18 (Mickens). In response to the Court’s
12
     questions, Prof. Mickens would not agree that Android’s sideloading steps should be “skipped”;
13
     he testified that they should be “compressed.” Tr. 2147:1-8 (Mickens). Nor did Prof. Mickens
14
     testify that there is any consensus in the security community that sideloading is safe for users;
15
     instead he acknowledged that, in the security community, “there are a variety of opinions on
16
     sideloading.” Tr. 2183:6-16 (Mickens). Indeed, as Prof. Mickens acknowledged at trial, a federal
17
     cybersecurity agency warns users against sideloading. Tr. 2183:17–2185:17 (Mickens). At the
18
     end of trial, no question was submitted to the jury regarding the propriety of Google’s sideloading
19
     warnings, and there is no finding from the jury that Android’s sideloading warnings are
20
     anticompetitive, unduly burdensome, or unreasonable. In light of this record, Epic has no basis to
21
     ask the Court to micromanage Android’s security warnings.
22
              2.    Separately, the evidence at trial showed that, apart from the sideloading warnings
23
     shown by the Android Operating System, some web browsers, including Microsoft’s Edge
24
     browser and Google’s Chrome browser, provide a warning when a user attempts to download an
25
     app from the internet. Tr. 1767:7-22 (Kleidermacher). To the extent Epic’s injunction is read to
26
     prohibit browser warnings, the trial record does not support such an injunction. Epic did not
27
     present any evidence that this warning is anticompetitive or unreasonable and the jury did not
28
     51890437.9                                       -33-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 36 of 93




 1 make any such finding. To the contrary, in his deposition, Epic’s security expert, Prof. Mickens,

 2 agreed that browser warnings are reasonable. Shikman Decl., Ex. 4 (Mickens Dep. 162:6–

 3 163:16). Nor did Prof. Mickens’ proposals suggest eliminating browser warnings. Id., Ex. 4

 4 (Mickens Dep. 166:5-22). Based on this record, Epic has no basis to ask the Court to enter an

 5 injunction that covers any web browser’s security warnings, including Google Chrome’s

 6 warnings.

 7 Objection 3:         Epic’s proposal would harm competition between iOS Devices and
                        Android Devices.
 8
            1.      At trial, there was no dispute that Android and Apple’s iOS compete for users, at
 9
     least at the device level. Tr. 2423:23-25 (Bernheim) (“I'm not saying that Apple and Android
10
     don't compete.”); Tr. 2424:11-13 (Bernheim) (Apple “is competing to satisfy consumers in
11
     transactions that involve buying smartphones.”). It also was undisputed at trial that Android
12
     competes with Apple’s iOS on security and privacy features. Tr. 1746:13-19 (Kleidermacher).
13
     Apple prohibits sideloading, 6 and Apple uses the availability of sideloading on Android devices as
14
     a way to attack Android in the marketplace. Tr. 2206:11-13 (Mickens); Tr. 1747:6-13
15
     (Kleidermacher); Tr. 1748:6-21 (Kleidermacher). As Epic’s expert acknowledged, “media outlets
16
     sometimes portray iOS as more advanced than other operating systems,” and this belief “is
17
     nurtured by Apple’s aggressive marketing narrative on security.” Tr. 2205:9-18 (Mickens).
18
     Apple’s marketing narrative can influence consumer purchasing decisions. Tr.t 2205:16-18.
19
     Indeed, the difference between Android and Apple with respect to sideloading has hurt Android’s
20
     perception in the marketplace. Tr. 1750:15-1752:2 (Kleidermacher); ECF 887-66, Trial Ex. 5945.
21
     Restricting Google’s ability to protect users from sideloading and warn users of the risk of
22
     sideloading would harm Android’s ability to compete with iOS by degrading Android security and
23
     by allowing Apple to further attack Google.
24

25

26

27
     6
28     Apple has since permitted limited sideloading in Europe to comply with the provisions of a new
     European law.
     51890437.9                                     -34-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 37 of 93




 1 Objection 4:         Epic’s proposed “notarization-like” process was previously rejected by the
                        Ninth Circuit and should be rejected again here for the same reasons.
 2
              1.    In Epic Games, Inc. v. Apple, Inc., the Ninth Circuit rejected Epic’s notarization
 3
     proposal because Epic “simply failed to develop how such a model would allow Apple to be
 4
     compensated for developers’ use of its IP. . . . Epic [stated] that ‘Apple can charge,’ but it offered
 5
     no concrete guidance on how to do so.” 67 F.4th at 992. As a result, the Court rejected Epic’s
 6
     notarization proposal and its requested injunction. Id. (“Nor can we even ‘explain’ [Epic’s
 7
     proposal], let alone direct the district court to craft an injunction that it could ‘adequately and
 8
     reasonably supervise.’”).
 9
              2.    The same issue exists here. Google’s app review process includes its proprietary
10
     intellectual property. Over 400 Google employees work on Android security, in addition to
11
     thousands of other employees who conduct app reviews. Tr. 1757:4-16 (Kleidermacher). Google
12
     has spent many years building its malware scanning technology and considers it to be a
13
     competitive advantage of the Play store. Tr. 1758:23–1759:8 (Kleidermacher). Epic’s proposal
14
     would effectively require Google to provide developers with access to this intellectual property,
15
     regardless of whether the developer elected to use the Google Play store.
16
              3.    Epic’s expert testified at trial that Google can “charge” for this notarization
17
     process, but it did not provide any details regarding how much Google could charge and how it
18
     could structure any fee. Tr. 2174:21-24 (Mickens).
19
     Objection 5:       Epic’s proposed “notarization-like process” is not adequately described,
20                      would require the Court to micromanage Android security, and would
                        impose significant burdens and costs on Google without creating a benefit
21                      to competition.

22            1.    As noted above, under Epic’s injunction, Android could provide warnings to users

23 regarding the risks of sideloading only if Google adopts a “notarization-like” process for Android.

24 But Epic has not described this “notarization-like” process in its injunction: What would this

25 process entail? Would Google provide the process? Would Google certify others to conduct this

26 process? Could Google charge for this process? How much could Google charge? What standards

27 should Google apply in reviewing apps or developers under this process? If a developer disagrees

28 with Google’s standard is there a challenge procedure? Who would resolve that challenge? If
     51890437.9                                        -35-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 38 of 93




 1 Google rejects a developer’s app, would the developer have an appeal right? Who would resolve

 2 that appeal? Who would pay for that appeal? How long would Google have to review an app

 3 under this process? How many employees would Google be required to retain to conduct this

 4 process? If an app passes this notarization process and is later determined to be malware, what

 5 would happen? Would Google have to create different notarization standards for each geographic

 6 jurisdiction? Could some jurisdictions require Google to block certain apps? Could Google

 7 provide notarization services to apps in countries subject to U.S. sanctions? Could Google refuse

 8 to provide notarization services to apps with objectionable content? Would Google’s reviewers be

 9 forced to view the content in such apps? Requiring Google to adopt such a notarization process
10 would effectively require the Court to micromanage Android security and an entire app review

11 apparatus.

12            2.    To the extent that Epic intends for Google to adopt one of the “notarization”
13 proposals Epic presented at trial, those proposals also did not address the vast majority of the

14 questions listed above. But it is clear from the few details that Epic did provide that its proposals

15 would impose a massive burden on Google, likely over $100 million in ongoing operational costs

16 per year. See Kleidermacher Decl. ¶ 23. As Epic’s security expert Dr. Mickens admitted at trial,

17 in a “centralized notarization” system Google “would bear the entire burden in terms of

18 performing the reviews” of apps on Android. Tr. 2166:15-19 (Mickens). Google would be the

19 only entity that can approve apps, and Google would set all the standards for the review. Tr.

20 2169:4-16 (Mickens). Even if notarization were “decentralized” and third parties could review

21 apps rather than Google, Dr. Mickens admitted that “Google would serve as a certification

22 authority [to] determin[e] which companies meet Google’s security bar” and that Google would

23 have to review and audit the third parties. Tr. 2179:6-10 (Mickens); see also Tr. 2180:4-8

24 (Mickens). And Google—and its customers—would bear the risks of Android being the first

25 consumer operating system to ever implement decentralized notarization for app review. See Tr.

26 2181:15-18 (Mickens). If the notarization process fails to catch a malicious app or if an app

27 cleared by Google later turns malicious, Google would face the reputational and brand risk, even

28 though the app was not distributed by Google and was not available on the Google Play store.
     51890437.9                                      -36-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 39 of 93




 1            3.    It is also not clear that a notarization system–either centralized or decentralized–

 2 would be successful at achieving levels of security and privacy on par with the Play store because

 3 no other modern operating system has demonstrated that such a system could achieve high levels

 4 of security and privacy. See Kleidermacher Decl. ¶¶ 23-25. Nor does Epic’s proposed injunction

 5 explain how to address new security and privacy risks that would be introduced by notarization,

 6 such as signing key theft. See Tr. 2249:9–2250:24 (Qian).

 7            4.    Epic’s proposal would also not provide any meaningful benefits to competition. To

 8 the contrary, Epic’s proposal would give Google more authority over app distribution on Android

 9 devices, which is directly contrary to Epic’s alleged goals in this lawsuit. Under Epic’s proposal,
10 Google would be permitted to block any app that chooses not to submit itself to the “notarization”

11 process. As a result, all apps on Android would have to go through a Google-controlled process.

12 As Prof. Mickens, Epic’s expert, admitted at trial, under a “notarization” approach, a game

13 developer like Epic would need to seek Google’s approval to obtain a notarization token, even if

14 that developer sought to launch on a different app store, like the Samsung Galaxy store. Tr.

15 2170:9–2171:20 (Mickens). Google would effectively have the authority to approve or block each

16 and every app available on Android devices, regardless of the method of distribution selected by

17 the developer.

18 Objection 6:         The “notarization-like process” will impose an improper duty to deal and
                        allow rival app stores to free-ride off Google’s intellectual property.
19
              1.    Epic’s proposed notarization system constitutes an improper duty to deal. Epic
20
     proposes that any notarization system must be “generally available, distribution-channel-
21
     agnostic,” meaning that Google would have a duty to deal with developers regardless of their
22
     choice of distribution channel. For example, under Epic’s proposal Google would need to provide
23
     its review services to apps that elect to list on the Epic Games Store, rather than the Google Play
24
     store. Google’s competitors, like the Epic Games Store, would be free to benefit from the work of
25
     over 400 Google employees who work on Android security—and the many more Google would
26
     need to hire to implement Epic’s proposal—and years of investment in developing Google’s
27
     intellectual property in the form of malware scanning technology that gives the Play store a
28
     51890437.9                                      -37-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 40 of 93




 1 competitive edge in offering a safe experience for users. See Tr. 1757:4–16, 1758:23–1759:8

 2 (Kleidermacher).

 3 Objection 7:         The proposed remedy is unreasonably burdensome to the extent that it
                        requires Google to modify past versions of Android.
 4
              1.    Epic’s proposed injunction is vague as to which versions of Android it would apply
 5
     and, specifically, whether Google would be obligated to modify the Android operating system
 6
     already installed on billions of existing Android devices. To the extent that Epic intends for the
 7
     injunction to apply to past versions of Android that have already been released and already
 8
     installed on users’ device, the injunction is unreasonably burdensome. Implementing Epic’s
 9
     proposed modifications to Android’s sideloading process would require numerous changes to the
10
     Android operating system. Kleidermacher Decl. ¶¶ 33-41. Developing, testing, and releasing a
11
     new version of Android takes a year or more to complete and requires the participation of OEMs,
12
     mobile network carriers, and regulatory bodies. Id. ¶¶ 37-38. Once a final version of Android has
13
     been publicly released in open source form, Google does not typically update old versions of
14
     Android other than to release critical security patches. Id. ¶ 41. Changing the functionality of old
15
     versions of Android can cause apps to unexpectedly malfunction if developers did not build their
16
     apps to anticipate the new changes. Id..
17
              2.    Moreover, Google does not have any mechanism to force updates to old versions of
18
     Andro Id.. OEMs–not Google–are responsible for deciding whether and how to adapt new
19
     versions of Android to the OEM’s existing devices and to release any such versions to their users’
20
     devices. Id.. Epic has not demonstrated that the burden of modifying Android is justified by any
21
     improvement to competition.
22
     Objection 8:       The proposed remedy is impermissibly vague in several additional
23                      respects.

24            1.    Epic’s proposed injunction would again improperly enjoin “disincentiviz[ing]”

25 certain conduct by third-parties. Google would be forced to guess whether any particular conduct

26 will be deemed to “disincentivize” a decision by another party. Epic’s remedy is therefore

27 impermissibly vague.

28            2.    Epic’s remedy also forbids Google from engaging in “any conduct that prohibits . .
     51890437.9                                      -38-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 41 of 93




 1 . the . . . granting of permissions . . . of any Android app through any Alternative Android App

 2 Distribution Channel.” Google does not understand what this means.

 3            3.     Epic’s remedy permits Google to impose additional “friction” only where an app or

 4 store is (a) known malware or (b) where the developer “declined to subject their apps/stores to a

 5 generally available, distribution-channel-agnostic notarization-like process.” As noted, the

 6 injunction does not provide any details as to what would count as a “generally available,

 7 distribution-channel-agnostic notarization-like process.”

 8            4.     Epic’s remedy does not identify any “neutral” language that would be acceptable to

 9 Epic for the limited consent screens proposed in the injunction.
10 Objection 9:         The proposed remedy would harm users and OEMs by preventing OEMs
                        from competing on security.
11
              1.     Android OEMs can customize Android’s default sideloading screens to add
12
     additional security features to protect their users. Some OEMs have done so. For example,
13
     Xiaomi, one of the largest Android OEMs, has included an additional sideloading warning screen.
14
     See Kleidermacher Decl. ¶¶ 11-12, Ex. C. Similarly, Samsung has released an Auto Blocker
15
     feature. See id. ¶¶ 13-14. According to Samsung, “when enabled, Auto Blocker protects your
16
     Galaxy device and data by preventing the installation of applications from unauthorized
17
     sources[.]” Id., Ex. D.
18
              2.     To the extent Epic’s proposed remedy is read to limit Google’s ability to approve
19
     Android devices that contain customized features relating to sideloading, the remedy would harm
20
     user security and impair competition among Android OEMs.
21
     Objection 10:      The proposed remedy could be interpreted to unreasonably require Google
22                      Play to implement sideloading warning screens that are independently
                        adopted by OEMs and carriers.
23
              1.     Android OEMs and mobile carriers can customize Android to include additional
24
     security features not present in the open source Android software or Google Mobile Services. See
25
     id. ¶ 11. For example, a mobile network carrier who is concerned about risks to their network if
26
     users install malware may independently choose to warn users about sideloading apps from the
27
     internet at large or from a particular source with a high risk of malware. Similarly, an OEM may
28
     51890437.9                                      -39-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 42 of 93




 1 choose to restrict sideloading or provide additional warnings. For example, Xiaomi, one of the

 2 largest Android OEMs, has included an additional sideloading warning screen. See id. ¶¶ 11-12.

 3 Similarly, Samsung has released an Auto Blocker feature that blocks sideloading by default after

 4 the user has enabled the feature. See id. ¶¶ 13-14.

 5            2.   While Epic’s proposed injunction is unclear, it states that Google “shall be required

 6 to display [warnings] or other “friction” steps in connection with the installation of an app from

 7 the Google Play Store that are commensurate with those that are imposed (whether by Google, an

 8 OEM or a Carrier)” in connection with a non-Play install. To the extent this provision would

 9 require the Play store to implement sideloading warning screens that OEMs have adopted for their
10 own devices, the injunction would serve only to penalize the Play store without improving

11 security. OEMs were not defendants in this case; and Epic did not introduce any evidence

12 regarding OEM-adopted warning screens. Nor did Epic introduce any evidence at trial to establish

13 that the Play store presents more risk than other app distribution channels. Requiring that the Play

14 store implement installation “friction” that is “commensurate” to the friction imposed on the

15 riskiest and most dangerous sources does nothing to restore competition and in fact harms

16 competition by imposing burdens on lawful conduct by Play that would not be borne by Play’s

17 competitors.

18            3.   In addition, to the extent Google would be required to impose the same “friction”
19 on the Play store as independently adopted by any OEM for other methods of installation, Epic

20 does not explain how Google could satisfy that obligation. For example, as discussed above,

21 Samsung has released an Auto Blocker feature that blocks sideloading by default after the user has

22 enabled the feature. How could Google apply that same “friction” to the Google Play store?

23 Would Google be expected to block all installations from the Play store? Similarly, as discussed

24 above, Xiaomi devices include an additional sideloading warning screen. How would Google be

25 able to invoke that screen for installations from Google Play? And because that screen refers to

26 sideloading, would users understand the screen if it was shown in the context of the Google Play

27 store? Epic does not say. The Court would therefore be required to referee endless disputes

28 regarding whether and how warning screens adopted by an OEM could or should apply to the
     51890437.9                                     -40-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 43 of 93




 1 Google Play store.

 2            G.     Part II.C.1 - Parity of Access to Android Functionality Regardless of Source

 3            Epic’s proposed injunction would permanently enjoin Google from engaging in conduct

 4 “that denies or impedes any Alternative Android App Distribution Channel, or any Android app

 5 that was downloaded through any Alternative Android App Distribution Channel, from having

 6 equivalent access to Android functionality and/or APIs and features” that any app downloaded

 7 from the Play store can access. Proposed Injunction § II.C.1. The proposed injunction further

 8 provides that “Google shall grant equal access to Android operating system and platform features .

 9 . . without discriminating based on . . . distribution channel” and that “Google may not claim that
10 features which are traditionally part of an operating system or platform are instead part of the

11 Google Play Store.” Proposed Injunction § II.C.1(i).

12 Objection 1:         Epic’s proposed remedy is not supported by the trial record.
13            1.     At trial, Epic did not present any evidence regarding any harm to competition

14 caused by Google’s policies or practices regarding access to Application Programming Interfaces

15 (“APIs”) or access to Android functionality. Nor did Epic present any evidence on the extent to

16 which apps distributed outside of the Play store have any differential access at all to APIs. At the

17 end of trial, the jury was not asked to find and did not find that any conduct related to this

18 proposed remedy was anticompetitive. And because Epic failed to raise any competition concerns

19 regarding these issues, including API access, Google did not have the opportunity to identify

20 procompetitive reasons or business justifications regarding any API access or feature access

21 requirements. Under these circumstances, there is no basis to impose Epic’s proposed remedy.

22 Objection 2:         The proposed remedy is impermissibly vague and would require constant
                        judicial supervision.
23
              1.     The crux of Epic’s proposed remedy is that Google must provide parity of access to
24
     “Android functionality and/or APIs” and “features which are traditionally part of an operating
25
     system.” Google would have to provide non-Play developers access to these features,
26
     functionality, and APIs on the same terms as it provides access to Play developers. But Epic’s
27
     injunction provides no clear way to identify (a) which features or APIs should be considered
28
     51890437.9                                      -41-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 44 of 93




 1 “traditionally part of an operating system” or part of “Android” and (b) which features or APIs

 2 constitute other Google intellectual property that is not part of the operating system. For example,

 3 is an email app a “traditional” operating system feature? A web browser? A software package

 4 that provides apps with enhanced geographical location information? An AI software package for

 5 image processing? Google would also be left to guess whether existing and new innovations will

 6 fall under the terms of the injunction. The injunction is therefore impermissibly vague. See

 7 Fortyune, 364 F.3d 1086–87.

 8            2.    In particular, there are thousands of proprietary Google APIs that are part of the

 9 Google Play Services suite, across dozens of unique services. See Declaration of Kurt Williams in
10 Support of Google’s Objections to Proposed Injunction (“Williams Decl.”) ¶¶ 2-4. For example,

11 the Google Play Games Services API allows developers to “enhance games with social

12 leaderboards, achievements, game state, [and] sign-in with Google.” Id. ¶ 9. And the Fused

13 Location Provider API uses GPS and WiFi signals to provide enhanced location information to

14 apps. See id. ¶ 5. Google has intentionally designed Android to avoid dependencies on these and

15 other proprietary APIs in order to provide flexibility to device makers in choosing whether or not

16 to integrate with Google services. Determining whether a particular API should be subject to a

17 parity-of-access rule will lead to endless case-by-case disputes, placing the Court into the role of

18 “central planner[]”—“a role for which [it is] ill suited.” Trinko, 540 U.S. at 408.

19 Objection 3:        Epic has not adequately developed how Google would be compensated for
                       developers’ access to its intellectual property.
20
              1.    Epic demands that Google provide “equivalent access” to its proprietary software
21
     and technology for developers who do not use the Google Play store as compared to the access
22
     provided for developers who do. Developers that use the Google Play store are subject to the Play
23
     store’s policies, including, where applicable, Google’s service fees, which compensate Google for
24
     its intellectual property such as the APIs. Tr. 3137:24–3138:23, 3145:7-10 (Loew). Developers
25
     who do not use the Google Play store do not pay Google anything. Epic has “failed to develop
26
     how [Google] could be compensated in such a model for third-party developers’ use of its IP.”
27
     Apple II, 67 F.4th at 992 (rejecting proposed injunction where Epic failed to develop evidence
28
     51890437.9                                      -42-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 45 of 93




 1 regarding how Apple would be compensated for use of its IP).

 2 Objection 4:         The proposed remedy will impermissibly require Google to provide access
                        to its products and intellectual property to non-customers, thereby chilling
 3                      Google’s incentives to innovate and make those innovations available to
                        developers.
 4
            1.      Under Epic’s proposed injunction, Google could be forced to allow non-
 5
     customers—developers that do not use the Play store—to access valuable Google technology,
 6
     including the APIs in Google Play Services, in perpetuity. See Williams Decl. ¶¶ 3-8. Google has
 7
     invested millions of dollars per year to build and maintain the Google Play Services APIs. See id.
 8
     ¶ 4. Google should not be prohibited from determining to whom it will provide these costly and
 9
     valuable services, nor should the Court set the terms and prices that Google may charge. See
10
     linkLine, 555 U.S. at 448 (“businesses are free to choose the parties with whom they will deal, as
11
     well as the prices, terms, and conditions of that dealing”).
12
            2.      If Google were forced to provide access to its valuable intellectual property,
13
     including proprietary APIs, to non-customers, it would chill Google’s incentives to innovate and
14
     improve the Play store. See Gentzkow ¶¶ 77-79. For example, Google could decide to develop
15
     more advanced graphic, mapping, location, or cloud services that can be used by Google Play
16
     apps. This would help Google compete to attract apps and developers to the Google Play store.
17
     But if Epic’s proposed remedy were in place, Google would face the risk that it would be forced to
18
     share those innovations with apps that elect to use competing app stores. Other stores operated by
19
     sophisticated entities with the resources to invest, such as Microsoft, Samsung, or even Apple,
20
     would also have little reason to invest in their own innovations because Google’s innovations will
21
     be available to developers in their competing store. Cf. Gentzkow ¶ 11.
22
            3.      Epic itself has developed advanced graphics tools for app developers and charges
23
     developers a royalty to access these tools based on a percentage of the developer’s revenue.
24
     However, Epic provides a 100% royalty discount on revenue earned through the Epic games
25
     store. 7 Under Epic’s proposal, Google would be prohibited from attracting developers to the Play
26

27
     7
28     Shikman Decl., Ex. 5, Frequently Asked Questions (FAQs), Unreal Engine,
     https://www.unrealengine.com/en-US/faq (last visited May 1, 2024).
     51890437.9                                   -43-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 46 of 93




 1 store on the same terms, while Epic remains free to do so.

 2 Objection 5:         The proposed remedy would harm users.

 3            1.    Epic’s proposed injunction would prohibit Google from restricting access to

 4 Android APIs and other features “based on the Developers’ choice of app distribution channel.”

 5 Proposed Injunction § II.C.1.i. If this requirement is interpreted to include preloading an app onto

 6 an OEM’s device as a “choice of app distribution channel,” the proposed injunction raises

 7 significant security and privacy risks by preventing Google from maintaining policies that restrict

 8 certain Android functionalities to apps approved by OEMs.

 9            2.    Android contains myriad APIs that malicious apps and app stores could use to
10 cause significant harm to users. For example, the Android operating system contains highly

11 privileged and sensitive APIs that allow apps to delete other apps, reset a device to its factory

12 settings, or connect to nearby Bluetooth devices. See Kleidermacher Decl. ¶ 29. Many of these

13 APIs have multiple versions, one that allows any app to access the functionality only if the user

14 has approved it, and another that allows access without the user’s approval. See id. ¶ 31. Only

15 OEMs can determine which apps may access this functionality without user approval. See id.

16 This allows OEMs to build advanced functionality for their Android devices while ensuring that

17 malicious apps are not able to access such features without a user’s knowledge or authorization.

18 See id. ¶ 30.

19            3.    Epic’s proposal would undermine Google’s ability to protect users if it is
20 interpreted to require Google to provide apps downloaded from the internet the same level of

21 access to Android APIs as apps preinstalled by the OEM. For example, under that interpretation,

22 Google would be required to allow any developer–such as Epic–to access functionality that would

23 enable the app or app store to delete other apps on the user’s device–including their competitors’

24 apps–without the user’s knowledge. See id. ¶ 32. Undisputed trial evidence also established that

25 relying on user consent to control access to sensitive permissions is risky due to the rise of social

26 engineering attacks, such as the tactics employed by FluBot or a fake Cyberpunk game app, that

27 trick users into granting harmful permissions. Tr. 1755:16–1756:9 (Kleidermacher); Tr. 2221:18–

28 2222:6 (Qian) (describing Cyberpunk malware). The Court should not issue an injunction that
     51890437.9                                      -44-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 47 of 93




 1 would put users at risk and harm OEMs by forcing Google to choose between putting users at

 2 greater risk of harm by removing restrictions on access to highly sensitive APIs or restricting the

 3 flexibility afforded to OEMs today by removing these APIs altogether. See Microsoft, 373 F.3d at

 4 1211 (“[A]ddressing the applications barrier to entry in a manner likely to harm consumers is not

 5 self-evidently an appropriate way to remedy an antitrust violation.”).

 6 Objection 6:          A permanent injunction is unwarranted and unnecessary.

 7            1.      A permanent injunction is particularly inappropriate given the inherent uncertainty

 8 in how operating systems will evolve in the years to come, such as with the advent of ever more

 9 advanced artificial intelligence, or changes to competitors’ business models, such as Apple
10 launching an app store for Android. Permanently enjoining Google’s ability to respond to changes

11 in technology and competitive conditions by differentiating between Play and off-Play developers

12 with respect to API access would unfairly prevent Google from competing on the merits,

13 monetizing its intellectual property, and result in an overly punitive remedy that does not promote

14 competition in the market.

15            H.      Part II.C.2 – No Access Restrictions to Other Google Products or Services
16            Under Epic’s proposed injunction, Google would be permanently enjoined from engaging

17 “in any conduct that conditions or impedes access to, restricts the use of, or conditions the terms of

18 access to any of Google’s products or services . . . on the basis of a Developer’s actual or intended

19 use of any Alternative Android App Distribution Channel.” Proposed Injunction § II.C.2. Google

20 would be additionally prohibited from “prohibiting or disincentivizing” links to alternative app

21 distribution channels in ads facilitated by Google Search, Google Ads, or any “similar services.”

22 Id. § II.C.2(i).

23 Objection 1:          The proposed remedy is not supported by the trial record.

24            1.      This proposed remedy is not supported by the trial record. At trial, Epic failed to

25 introduce any evidence that Google has conditioned access to other Google products and services

26 on a developer’s use of Google Play. Nor is there any evidence that enjoining Google’s policies

27 or practices with respect to dozens of its other products and services would do anything to restore

28 competition. At the end of trial, Epic did not submit this issue to the jury, and the jury did not
     51890437.9                                        -45-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 48 of 93




 1 issue any finding that Google has acted anticompetitively with respect to access to other Google

 2 products and services. For the same reason, Epic has failed to show any threat of future injury and

 3 lacks standing to seek this relief.

 4 Objection 2:         The proposed remedy would impose an improper duty to deal on unrelated
                        Google products and services and encourage free riding by competitors.
 5
              1.    Epic’s proposal also includes the improper requirement that Google must display
 6
     ads for alternative app distribution channels in Google Search, other Google Ads services, and any
 7
     other “similar services.” Proposed Injunction § II.C.2(i). Google should not be forced to provide
 8
     products and services to its competitors. See linkLine, 555 U.S. at 449 (no duty to deal).
 9
              2.    In addition, and at a minimum, Google should not be required to provide ads for
10
     alternative distribution services if those services pose risks to users. Under Epic’s injunction,
11
     Google could be required to accept advertising from alternative distribution services that distribute
12
     malware, pirated content, or other illegal or harmful content. Nor should Google be compelled to
13
     convey messages to users that are objectionable (such as an app distribution channel dedicated to
14
     distributing apps for hate groups).
15
              3.    The proposed injunction could also serve only to prop-up iOS and other platforms
16
     relative to Android because these other platforms would be free to set policies prohibiting harmful
17
     content while Google would be prohibited from doing so on Android. For example, Apple could
18
     implement platform policies that prohibit ads that direct users to malicious app stores but Google
19
     would be required to display such ads on Android devices.
20
              4.    Moreover, to the extent that Epic intends for the vague reference to “similar
21
     services” to include the Google Play Store, the proposed remedy is also improper because it would
22
     force Google to allow the Play store’s competitors to show users ads to lead them away from the
23
     Play store while the user is inside the Play store app. This proposed remedy would create a
24
     confusing experience for users who are intending to purchase apps from the Play store and be akin
25
     to requiring Walmart to display ads in its store for Target. See, e.g., Bray, 392 F. Supp. at 868
26
     (observing that enjoining “activities that are not inherently illegal” and simply benefits a different
27
     group of market participants, not competition as a whole, is improper).
28
     51890437.9                                       -46-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 49 of 93




 1 Objection 3:          The proposed remedy is impermissibly vague and does not detail what
                         conduct would be enjoined.
 2
              1.     As discussed above, Epic’s proposed injunction would again improperly enjoin
 3
     “disincentivizing” conduct by third parties. Google would be forced to guess whether any
 4
     particular conduct will be deemed to “disincentivize” a decision by another party. Accordingly,
 5
     the proposed injunction is not sufficiently definite to put Google on notice of what conduct is
 6
     enjoined.
 7
     Objection 4:        The proposed remedy, in conjunction with Epic’s proposed remedies
 8                       related to sideloading, would increase security and privacy risks to users.

 9            1.     Epic’s proposed injunction is likely to harm users by requiring Google to allow ads
10 to display links to alternative app distribution channels, irrespective of whether the alternative

11 distribution channel is itself malware or has failed to take steps to prevent itself from distributing

12 other malware. Epic has also separately proposed that Google be enjoined from warning users of

13 the risks associated with sideloading beyond the “friction” applied to installing apps from the

14 Google Play store or a single, neutrally worded screen. See Section II.F. Together, these

15 proposals heighten the risk that users may click a link in an ad that leads them to a malicious app

16 distribution channel (because Google would be enjoined from preventing such links in the first

17 place) but will not be warned about the risks of installing apps from that channel (because Google

18 would be enjoined from imposing additional warnings). At the same time, iOS and other

19 platforms would be free to enforce policies against these harms to their users, which serves only to

20 undermine Android’s competitive advantages on security.

21            I.     Part II.D.1 - Google Play Store Catalog Access and Library Porting
22            Epic’s proposed injunction would require Google for a period of six years to provide third-

23 party app stores—Google’s competitors—with free access to (a) the millions of apps that

24 developers have chosen to distribute through Play and (b) the proprietary technology and services

25 that Play uses to distribute these apps. Proposed Injunction § II.D.1. If a third-party app store

26 does not carry a particular app, Google would be required to “have the Google Play Store

27 download and install” that app on behalf of the third-party store. Id. Epic’s proposed injunction

28 further requires that Google allow users to “provide Third-Party App Stores with access to a list of
     51890437.9                                      -47-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 50 of 93




 1 apps installed by the Google Play Store” on the user’s device. Google must also provide the

 2 ability for users “to change the ownership for any or all of those apps such that the Third-Party

 3 App Store becomes the update owner for those apps.” Id. § II.D.1(ii).

 4            This proposed remedy benefits Epic by providing it with the ability to distribute all of its

 5 competitors’ games in its own Android app store, but imposes serious and unprecedented harms

 6 on other app developers and Android users. See Gentzkow ¶¶ 86-99. Epic’s proposal would

 7 deprive developers of the choice whether to list their apps in other app stores and rob them of the

 8 opportunity to negotiate placement deals with app stores. See Gentzkow ¶ 88. Epic’s proposal

 9 would also harm Android users by making sensitive information about the apps on their phones
10 available to third parties, including bad actors posing as app stores, based on a novel app

11 ownership consent request that is very likely to confuse users. See Gentzkow ¶¶ 96-97. And

12 Epic’s proposed remedy amounts to a forced-access requirement that is akin to requiring Walmart

13 to fulfill orders on behalf of Target in clear violation of the longstanding antitrust principle that a

14 business—even an alleged monopolist—has no duty to aid its competitors. See Gentzkow ¶ 92.

15 In effect, Epic seeks a wholesale product redesign that removes choices for app developers and

16 harms the privacy and security interests of users, and that would require improper

17 micromanagement by the Court of important product decisions and policies, while unduly

18 restricting Google’s ability to compete. This proposed remedy is not remotely supported by the

19 trial record and in fact contradicts the theory of liability that Epic presented at trial. This proposed

20 remedy is also wholly unnecessary in light of the provisions in the State Settlement that promote

21 app store competition without harming the interests of developers and users.

22 Objection 1:          This proposed remedy is not supported by the trial record and contradicts
                         Epic’s theory of liability.
23
              1.     This proposed remedy is entirely inconsistent with Epic’s trial presentation. Epic’s
24
     theory at trial was that rival app stores would “want to differentiate [themselves] from Google
25
     Play.” Tr. 2400:20–2403:6. Epic’s expert testified that this was “the main viable entry strategy
26
     into this industry,” Tr. 2403:18-19, and “a way that companies often successfully break into
27
     markets.” Tr. 2401:12-13. And Epic argued in closing argument: “This is a way that new
28
     51890437.9                                        -48-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 51 of 93




 1 companies can compete. They can have exclusive content. They can bring people to the store.”

 2 Tr. 3367:19-21; see also Bernheim ¶¶ 13-14. Thus, according to Epic’s own trial presentation,

 3 eliminating the challenged conduct that supposedly blocked product differentiation should be

 4 sufficient to give rivals an opportunity to compete. Now, however, Epic’s position is that

 5 differentiation alone is not a viable entry strategy and that, instead, rival app stores need access to

 6 all of the same apps that Play has in order to compete. This theory is not supported by the

 7 evidence that Epic introduced at trial—indeed, it squarely contradicts Epic’s trial presentation—

 8 and should be rejected for that reason.

 9            2.    The trial evidence also shows that taking away Google’s advantage in the number
10 of apps in its store would punish Google for successful competition. Dr. Bernheim vaguely claims

11 that Google’s “catalog advantage” is derived from past anticompetitive conduct (e.g., Bernheim

12 ¶¶ 25, 46), but he cites no trial evidence connecting Google’s robust app catalog with any alleged

13 anticompetitive conduct. In fact, the evidence at trial showed that the Play store’s catalog was a

14 first-mover advantage that Google obtained through early investment, innovation and competition,

15 developing Android and launching the first Android app store–then called Android Market–as part

16 of its strategy to build Android into a successful platform. See Gentzkow ¶ 20. The parties

17 stipulated that Google launched Android Market in October 2008 (Tr. 139:16), Epic’s expert

18 conceded Google was a “small player” at that time (Tr. 2480:9-15), and Google’s economics

19 expert testified that Android Market had a significant catalog of apps just a few years later (by

20 2011). Tr. 2631:22–2632:16 (Gentzkow). Epic’s trial presentation focused exclusively on more

21 recent conduct that Epic alleged restrained competition among Android app stores. This proposed

22 remedy thus punishes Google for conduct that is not anti-competitive and that is not remotely

23 similar to the conduct that the jury was asked to consider.

24            3.    Epic’s suggestion that Google provide full catalog access through an “Alley Oop
25 like mechanism” is also not supported by the trial record and appears to be based on a

26 misunderstanding of the Alley Oop product by Epic’s expert. Neither the proposed injunction nor

27 Epic’s experts explain what the term “Alley Oop like mechanism” means, and Epic introduced no

28 evidence about Alley Oop at trial. In his report, Epic’s expert incorrectly asserts that Alley Oop
     51890437.9                                      -49-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 52 of 93




 1 “allowed Facebook to install its apps and others’ apps outside of Google Play.” Bernheim at 10

 2 n.45. In fact, as the trial exhibit cited by Epic’s expert states, Alley Oop was an “inline install

 3 solution powered by Play,” ECF 887-15, Tr. Ex. 1546-007 (emphasis added), that simplified the

 4 process by which a user clicking on an ad for an app in Facebook’s news feed could install the app

 5 from Play with minimal friction. Deposition evidence established that Alley Oop was a targeted

 6 beta program available to a small number of qualified app developer partners who distributed their

 7 apps through Play, agreed to program terms, and collaborated closely on technical integration and

 8 product testing. See, e.g., Shikman Decl., Ex. 6 (Bankhead Dep. 121:5-16) (“it was a beta

 9 product, there was a small list of developers that tried it”); id. at 134:14-22. There is no evidence
10 that Alley Oop was ever implemented to share catalog access with another app store or on the

11 massive scale contemplated by Epic’s proposed injunction.

12 Objection 2:         Epic’s proposed remedy would harm app developers.
13            1.    Epic’s proposed remedy deprives developers of control over the app stores in

14 which they choose to make their apps available. One developer, Epic, asks the Court to force all

15 other developers to publish their intellectual property through multiple channels without consent.

16 Some developers may not want to list their apps in certain app stores, such as stores that develop

17 competing apps, carry pornography, or do not adequately monitor pirated apps. Other developers

18 may have legitimate reasons (reduction of costs, the need to track user reviews/satisfaction across

19 distribution channels, use of a targeted promotional strategy, etc.) to choose a single-channel

20 launch as a competitive strategy and thus may not want their apps available in multiple stores. See

21 Gentzkow ¶ 88. Moreover, Epic has asked the Court (over Google’s objection) to impose an

22 injunction that would apply worldwide except China. Developers whose apps were suddenly

23 listed without their consent in app stores based outside the United States would face a host of

24 regulatory and compliance risks. Developers would also have many legitimate reasons not to want

25 to list their apps in foreign app stores, including concerns about app piracy, the need for

26 translation, local pricing differences, the scope of the developer’s intellectual property licenses,

27 and the relevance of their content in foreign countries, to name a few. Epic’s proposed remedy

28 deprives developers of these choices by requiring Google to offer any competing Android app
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 53 of 93




 1 store access to every app listed in the Play store, regardless of the developer’s preferences. Dr.

 2 Bernheim does not and cannot contend that this proposal is without cost to developers; on the

 3 contrary, developers would face increased operational costs to monitor how their apps are

 4 displayed and are performing in innumerable stores, as each store may have markedly different

 5 marketing strategies, user engagement priorities, content policies, security standards, etc.

 6            2.    Epic’s proposed remedy also contravenes the terms of Google’s agreements with

 7 the millions of developers that distribute apps through Play. Google does not own these

 8 developers’ apps; Google has a limited license to reproduce and use the apps pursuant to the

 9 Developer Distribution Agreement (“DDA”). See Shikman Decl., Ex. 8 (operative DDA). That
10 limited license includes the right to reproduce and use the apps in “the operation and marketing of

11 Google Play,” but does not include the right to distribute the apps elsewhere. DDA § 5.1.

12 Likewise, Google has a limited license to make use of an app developer’s trademarks and other

13 intellectual property “in connection with the distribution and sale of Developer’s Product via

14 Google Play.” DDA § 6.2. In other words, the millions of developers distributing their apps

15 through Play have not granted Google a license to distribute their apps through, or make use of

16 their intellectual property in, an unknown set of non-Play app stores. Although Epic contends that

17 app distribution through this “background process” would be “governed by” the DDA (Bernheim

18 at 10 n.46)—in fact, it would violate the terms of the DDA. DDA §§ 5.1, 6.2. Epic’s proposed

19 injunction is tantamount to creating a forced license between millions of developers and all third-

20 party app stores on Android.

21            3.    This proposed remedy also denies developers the benefits of competition among
22 app stores. Stores like the Epic Games Store and Play offer incentives to the developers of

23 successful and popular apps to list their apps in the store. See Tr. 849:11-18 (Kochikar); Tr.

24 491:15–492:3 (Koh). If Google is required to provide all third-party app stores with access to its

25 catalog, then both Google and these third-party stores will have less reason to offer such incentives

26 to many developers who lists their apps in the Play store. See Gentzkow ¶¶ 87, 98. See also Nat’l

27 Soc. of Pro. Eng’rs, 435 U.S. at 695 (“The assumption that competition is the best method of

28 allocating resources in a free market recognizes that all elements of a bargain . . . are favorably
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 54 of 93




 1 affected by the free opportunity to select among alternative offers.”). For example, in December

 2 2023, Microsoft announced plans to launch a new Android app store. As a result of Epic’s

 3 proposal, Microsoft–as well as any other large company launching a new Android app store, like

 4 Epic or even Apple–would have less need to offer developers who put their apps in the Play store

 5 an incentive to list their apps (particularly, free apps) in Microsoft’s store as well, since Microsoft

 6 would automatically get access to all apps that are in the Play store. See Gentzkow ¶¶ 87, 98.

 7 Objection 3:         Epic’s proposed remedy would harm Android users.

 8            1.    Epic’s proposed remedy could harm Android users because it does not account for

 9 how users’ privacy will be protected. Epic proposes that third-party app stores be able to request a
10 list of every app that the user installed from Play (i.e., the user’s “app library” on their device),

11 without explaining how this would occur or what steps Google would be allowed to take to

12 address the privacy implications of this decision. The apps on a user’s phone can reveal sensitive

13 personal information about the user. Examples of sensitive apps that are currently available in the

14 Play store include Safe Abortion, Ovulation & Period Tracker, PTSD Coach, Beating Cancer

15 Together, I Am Sober, dating apps, social media apps, and apps that disclose political affiliations.

16 Google’s privacy policies provide for user consent before such personal information is shared

17 outside of Google. The proposed mandatory sharing of user information on a mass scale

18 implicates complex privacy and user consent concerns. See Gentzkow ¶¶ 93, 97. How would

19 hundreds of millions of users provide consent to this data disclosure in a manner that is consistent

20 with applicable law? How aggressively could third-party app stores pursue user consent to this

21 disclosure? What would third party app stores be required to tell users (and what would Google

22 be permitted to tell users) about the implications of the decision when requesting their consent?

23 What would third party app stores be permitted to do with the data once in hand and would there

24 be any recourse if, e.g., the data is resold to others? What technical process would govern the

25 transfer of user-specific data from Play to countless third-party stores that may be located inside or

26 outside of the United States? Epic does not answer these questions, leaving the Court to resolve

27 and then micromanage them.

28            2.    Those privacy concerns are heightened by the fact that Epic’s proposed injunction
     51890437.9                                       -52-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 55 of 93




 1 does not define the term “app store” and does not appear to give Google any discretion to

 2 determine whether a particular third party requesting access to users’ phones is, in fact, a bona fide

 3 and high quality app store, and not (for example) a fraudster or a malware designer or a hate group

 4 or an agent of a foreign power. Such bad actors are rampant throughout the internet economy and

 5 could easily exploit user confusion about the requested permission to harm users. The process

 6 contemplated by Epic’s proposed injunction—allowing app stores to ask users for authorization to

 7 take control of all of the apps on their phones downloaded from another source—has never been

 8 implemented before. It is easy to imagine users granting this authorization without fully realizing

 9 or understanding the implications of that decision, and in particular that this authorization means
10 that another app store will now have control over updates to the apps on the user’s device.

11 Malicious actors posing as app stores could easily use this confusion to perpetrate fraud or steal

12 data or spread malware to the phones of users who unknowingly granted authorization for the

13 malicious app store to take ownership of their apps. Tr. 2189:10-14 (Mickens) (admitting that

14 malware often pretends to be a popular brand); Tr. 2236:23–2237:3 (Qian) (explaining that

15 malware often deceives users).

16            3.    This proposal also raises significant security concerns for Android users. Providing
17 third parties with a list of apps installed on devices would increase the potential for bad actors to

18 learn which apps exist on a specific user’s device, and thus permit targeting of vulnerabilities in

19 those apps installed on specific devices. Tr. 2220:19–2221:3, 2244:25–2245:13 (Qian).

20            4.    This proposal also creates a serious risk of user confusion over which store is
21 installing apps on their device, which store is authorized to update those apps, and which store, if

22 any, is responsible for billing and customer service. For example, under Epic’s proposal, a user

23 may: (a) enter a third-party store to find an app; (b) try to install the app from that store only to

24 receive it “in the background” from Play; and (c) later inadvertently switch the updating of that

25 app to a different third-party app store. If something goes wrong with the user’s app experience,

26 which of the three app stores is responsible – the store the user thought they were installing from,

27 the store that provided the actual installation service in the background, or the store who

28 eventually took over updating ownership? Epic’s proposed injunction does not say, leaving the
     51890437.9                                       -53-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 56 of 93




 1 Court to resolve and micromanage this issue as well.

 2 Objection 4:         Epic’s proposed remedy is not judicially administrable as it would impose
                        a duty to deal, require a redesign of Google’s products, and require the
 3                      Court to set prices for Google’s services.

 4            1.    By forcing Google to provide competitor app stores with access to one of Play’s

 5 primary services—app distribution—this proposed remedy would require Google to deal with its

 6 rivals by offering the novel services of mobile app store catalog access and library porting. This

 7 forced access is not judicially administrable and would require the Court’s repeated intervention.

 8 Neither Epic’s proposed injunction nor its expert’s report explains the terms under which these

 9 services would be provided, or the price (if any) that Google could charge for the services it is
10 ordered to provide, or the standards that Google would be permitted to apply in deciding whether

11 an app store maintains sufficient security protections to be a partner.

12            2.    This proposed remedy would be unmanageable for the additional reason that it
13 would require technical redesigns for which this Court would need to act as a “central

14 planner[]”—“a role for which [it is] ill suited.” Trinko, 540 U.S. at 408. Epic’s proposal would

15 require Google to reconfigure the Android operating system and design an entirely new catalog

16 access and library porting service. See Kleidermacher Decl. ¶¶ 42-44. The Court would assume

17 day-to-day supervision of scores of technical decisions and changes to the terms and conditions

18 offered to both developers and users, including those related to user experience, security standards

19 and content restrictions, consuming enormous judicial resources. See 1/18/24 Hr’g Tr. 11:18-21

20 (“A United States district judge, whether me or anyone else or any Article III judge in the federal

21 judiciary, is not going to micromanage Google.”).

22            3.    If Google is not permitted to charge other app stores for catalog access and library
23 porting (and neither the proposed injunction nor Epic’s expert says one way or the other), then

24 Epic’s proposed remedy also impermissibly sets the price for Google’s distribution services and its

25 intellectual property at zero. See Gentzkow ¶¶ 91, 98; linkLine, 555 U.S. at 452–53 (“Courts are

26 ill-suited ‘to act as central planners, identifying the proper price, quantity, and other terms of

27 dealing.’”) (quoting Trinko, 540 U.S. at 408); Alston, 594 U.S. at 102 (“Judges must be wary, too,

28 of the temptation to specify ‘the proper price, quantity, and other terms of dealing’—cognizant
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 57 of 93




 1 that they are neither economic nor industry experts.”) (quoting Trinko, 540 U.S. at 408). As the

 2 Ninth Circuit recognized in the context of assessing remedies in Kodak, even a monopolist is

 3 entitled to charge prices that “the market will bear.” Kodak, 125 F.3d at 1225–26 (striking

 4 injunction provision requiring Kodak to furnish parts to rivals at even a “reasonable” price, instead

 5 holding that “Kodak should be permitted to charge all of its customers . . . any nondiscriminatory

 6 price that the market will bear.”).

 7 Objection 5:        Epic’s proposed remedy is not necessary to promote competition among
                       app stores in light of the provisions in the State Settlement and would
 8                     harm competition.

 9            1.    As part of the State Settlement, Google has already agreed to several remedies that
10 will promote competition among Android app stores. Most notably, under the State Settlement,

11 Google cannot seek exclusivity for Play, and therefore other app stores are free to compete for the

12 right to offer any app that is listed on Play. The State Settlement also provides that Google cannot

13 enter agreements with OEMs to prevent the pre-installation of rival app stores, Google must

14 simplify the sideloading flow, and Google must maintain certain technical features that assist

15 third-party app stores.

16            2.    Epic’s proposed remedy is unnecessary in light of these provisions. There was no
17 evidence offered at trial suggesting that Google prevented rival app stores from entering into

18 distribution agreements with app developers. See Bernheim ¶ 46. In addition, the listing for each

19 app on Play includes the name of the developer as well as contact information for the developer

20 (typically an address). Nothing prevents a third-party app store from contacting a developer that

21 distributes on Play and trying to obtain a license to distribute that developer’s apps. Nor is there

22 any impediment to a developer on Play contacting third-party app stores to seek alternative

23 options for distribution.

24            3.    Epic’s expert proposes a six-year, forced-sharing requirement where Google would
25 be required to supply developers’ apps to rival app stores to purportedly “uncoupl[e] the two sides

26 of the market” and solve a “chicken-and-egg” problem. Bernheim ¶ 25. The antitrust laws,

27 however, were not designed to equip a hypothetical competitor with a competitive advantage

28 obtained through legitimate conduct. Omega Env’t, Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1163
     51890437.9                                      -55-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 58 of 93




 1 (9th Cir. 1997); see also Novell, Inc., 731 F.3d at 1072 (Gorsuch, J.) (noting the Supreme Court

 2 has “emphatically rejected” the notion that a “monopolist must lend smaller rivals a helping

 3 hand”). Forcing Google to serve its rivals with the entirety of Play’s catalog does not help

 4 differentiate other app stores in any respect. To the contrary, Dr. Bernheim testified at trial “that

 5 companies often successfully break into markets” by differentiating themselves with “some sort of

 6 exclusive content.” Tr. 2401:3-15. Epic introduced no evidence at trial suggesting that Epic, or

 7 any other app store competitor, requires access to the Play store catalog to identify or access

 8 exclusive content.

 9            4.    The contention of Epic’s expert that the remedies in the State Settlement are
10 insufficient because they will take too long to stimulate competition is not supported by the trial

11 record; indeed, it is not supported by any evidence at all. See Gentzkow ¶¶ 14-21, 84-85. Epic’s

12 expert cites no evidence that companies like Microsoft—which just acquired the Activision

13 gaming studio for $68.7 billion—and Samsung could not attract sufficient users and developers if

14 the challenged conduct were eliminated. See Gentzkow ¶ 50. Although Dr. Bernheim claims that

15 preloading is insufficient to build a user base because “users tend to keep their mobile phones for

16 several years,” Bernheim ¶ 23, he has never argued that an app store must reach all or most

17 Android users immediately to stand a chance of success. To the contrary, he testified at trial that

18 app stores could effectively compete in the absence of RSA 3.0 agreements, even though they

19 applied to only a very small fraction of Android devices worldwide. Tr. 2501:3–2502:12

20 (Bernheim). The evidence at trial established that Samsung and Motorola manufacture the

21 majority of Android phones for sale in the United States, with Samsung manufacturing over 100

22 million devices alone. Tr. 1063:3-5 (Kleidermacher); Tr. 2626:18-22 (Gentzkow). Pre-

23 installation deals with these two companies alone—which will now be easier to negotiate as a

24 result of the State Settlement remedies discussed above—could bring a new app store to millions

25 of Android users in the next year. And in any event, the sideloading remedies in the State

26 Settlement would improve the ability of competitor app stores to reach all those users right away.

27            5.    Far from promoting competition, Epic’s proposed remedy would harm competition
28 among app stores. Epic’s proposal encourages third-party app stores to free-ride on Play’s app
     51890437.9                                      -56-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 59 of 93




 1 catalog and erodes many developers’ incentives to compete directly for app developers’ business.

 2 See Gentzkow ¶ 87. Rather than dealing with app developers directly, third-party app stores could

 3 simply take advantage of Google’s investments in building a robust app catalog of both free and

 4 paid apps, and in creating advanced distribution technology and services. This proposal would

 5 have the perverse effect of “unnecessarily entrench[ing]” Play as the primary source of

 6 developers’ apps, undermining price competition in the market. See Kodak, 125 F.3d at 1225–26

 7 (striking injunction provision requiring Kodak to inventory parts produced by third-party parts

 8 manufacturers, on the grounds that the measure would “promote[] free-riding by requiring Kodak

 9 to pay for keeping a massive inventory of parts” and, by forcing non-Kodak manufacturers to
10 “price replacement parts at levels necessary to attract” away parts-buyers, “unnecessarily

11 entrenches Kodak as the only parts supplier”).

12            6.     Epic’s proposal may benefit Epic (e.g., by giving the Epic Games Store access to
13 its competitors’ games), but it would also harm certain third-party app stores who may not want to

14 help Epic, or who may already be investing in a robust app catalog. This proposal would decrease

15 the value of that investment by boosting other stores who have chosen not to invest in attracting

16 desirable and varied apps.

17            J.     Part II.D.2 - Google Play Store Distributing Third-Party Apps Stores
18            Epic’s proposed injunction would require Google to distribute competing app stores

19 through Play for six years—and it appears Google would have to provide that distribution to its

20 competitors for free. Proposed Injunction § II.D.2. Epic’s proposal would also require Google to

21 make the download process for third-party stores “identical in all respects to the download process

22 of any other app,” except that Google may present users “with a single one-tap screen asking the

23 User to allow the Third Party App Store to install other apps.” Id. § II.D.2.i

24            Epic’s proposed remedy imposes on Google an impermissible duty to deal with

25 competitors that is contrary to law, inconsistent with the Court’s summary judgment ruling, and

26 unnecessary to promote competition in light of the provisions in the State Settlement addressing

27 app stores, see Gentzkow ¶¶ 100-111. Epic’s proposal would benefit Epic and other large

28 companies planning to launch Android app stores like Microsoft while harming OEMs and
     51890437.9                                     -57-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 60 of 93




 1 consumers. Under Epic’s proposed remedy, those companies would be able to bypass

 2 preinstallation deals with OEMs and instead free ride on Play for distribution, depriving OEMs of

 3 revenue from those deals and thereby increasing the cost of Android phones. See Gentzkow

 4 ¶ 105. Epic’s proposal also presents enormous safety and security risks to Android users, as the

 5 proposed injunction gives Google no discretion to decide whether to distribute through Play any

 6 app that calls itself an app store, including “app stores” that distribute explicit or harmful content,

 7 that infringe on the intellectual property of developers, and that have minimal security protections.

 8 See Gentzkow ¶¶ 103, 104. This remedy would require Google to redesign the Play store at

 9 Google’s expense under the Court’s supervision, and (if Google is permitted to charge other app
10 stores for distribution) it would require the Court to set Google’s prices. All this is unnecessary in

11 light of the provisions in the State Settlement promoting competition among Android app stores.

12 Objection 1:         Epic’s proposed remedy is inconsistent with the Court’s summary
                        judgment ruling and is unnecessary to promote competition in light of the
13                      provisions in the State Settlement addressing app stores.

14            1.    The Court ruled at summary judgment that the antitrust laws do not require Google

15 to distribute other app stores on Play. ECF 700 (granting summary judgment for Google on

16 “plaintiffs’ claims that Google unlawfully prohibits the distribution of other app stores on Google

17 Play”) (quoting ECF 483 at 6). And Epic’s expert concedes that this proposed remedy “goes

18 beyond prohibiting the specific conduct, or substantially similar conduct, that was at issue in the

19 trial.” Bernheim ¶ 68. Indeed, Epic presented no evidence at trial that would support its expert’s

20 assertion that this drastic remedy is necessary to promote competition among Android app stores.

21            2.    Google obtains distribution for Play by entering into preload agreements with

22 OEMs. Google’s competitors can enter into similar preload deals by negotiating with OEMs

23 themselves. See Gentzkow ¶ 105. To address allegations that Google’s conduct makes it harder

24 for third-party stores to enter such deals, Google has agreed in the State Settlement (i) not to seek

25 preload exclusivity, (ii) not to enter agreements with OEMs that would prevent third-party app

26 stores from being preloaded, and (iii) not to require Google’s consent before third-party app stores

27 may be preloaded. As a result, there is no impediment to Google’s competitors negotiating their

28 own distribution deals with OEMs. Google has also agreed in the State Settlement to streamline
     51890437.9                                      -58-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 61 of 93




 1 the sideloading flow to make the installation of third-party stores via sideloading more efficient.

 2 Objection 2:        Epic’s proposed remedy would harm users.

 3            1.    Epic’s proposed remedy would harm Android users by effectively bypassing the

 4 security, content, safety, and privacy standards that Google has maintained for Play. See

 5 Microsoft, 373 F.3d at 1211 (“[A]ddressing the applications barrier to entry in a manner likely to

 6 harm consumers is not self-evidently an appropriate way to remedy an antitrust violation.”).

 7 Google has comprehensive policies that limit the types of apps and content permitted on Play. For

 8 example, in addition to forbidding malware, Play does not distribute apps: (a) with inappropriate

 9 sexual content, hate speech, or content that endangers children, (b) that invade user privacy, (c)
10 that promote illegal activity, and (d) that infringe upon app developer intellectual property.

11 Forcing Google to distribute app stores through Play would allow apps listed on these stores to

12 bypass Google’s important policies. See Tr. 3147:1-10 (Loew) (“We’re always worried about a

13 bad-apple scenario where a user has really one bad experience with a digital app, and then they

14 don't want to try anything else in the store”); see also Epic Games, Inc. v. Apple Inc., 559 F. Supp.

15 3d 898, 979 n.381 (N.D. Cal. 2021), aff’d in part, rev’d in part and remanded, 67 F.4th 946 (9th

16 Cir. 2023) (recognizing problems for users “that may occur when permitting ‘stores within

17 stores’” including “disparate guidelines and policies, and the difficulty of reviewing materials

18 hosted by third parties”).

19            2.    Epic’s proposed injunction would particularly harm parents. Play has invested
20 significantly in features that make the Play store safe and usable for parents, including payment-

21 related protections. Tr. 3122:2–3125:18 (Loew). Epic’s proposed injunction would require

22 Google to distribute third party app stores, even if those stores do not include similar protections

23 for parents.

24            3.    Epic’s proposed injunction would compromise user security on Play. The
25 undisputed evidence at trial established that user installs are a common way that smartphones are

26 infected by malware. Tr. 1754:17-20 (Kleidermacher). Google invests heavily in malware

27 screening to prevent malware from entering Play. See Tr. 1757:10–1761:21 (Kleidermacher)

28 (describing Play’s malware detection efforts, and noting that Google’s trust and safety team
     51890437.9                                      -59-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 62 of 93




 1 comprises thousands of employees; that Google has developed intellectual property to screen apps

 2 algorithmically; and that security screening requires human review). Epic’s proposed remedy

 3 would require Google to distribute third-party app stores through Play even when those stores do

 4 not impose the same level of security protection and even when Google has minimal information

 5 about the stores and the apps in them, thereby harming the security of Play store users.

 6 Objection 3:         Epic’s proposed remedy would harm OEMs, consumers and competition.

 7            1.    Under Epic’s proposal, Google’s rivals would have no incentive to negotiate with

 8 OEMs for preload deals and could instead free-ride on Google’s distribution agreements. For

 9 example, this proposed remedy would allow Microsoft–which has announced plans to open an
10 Android app store–to bypass negotiations with OEMs for preinstallation deals and instead free-

11 ride on Google’s preinstallation deals by distributing their app store through Play. This would

12 harm OEMs and consumers. See Gentzkow ¶¶ 19, 105. To obtain distribution from OEMs, rival

13 app stores must provide value to OEMs–either through monetary payments that reduce the OEMs’

14 costs or through investments in creating a high-quality app store that benefit users and developers.

15 See Gentzkow ¶¶ 105-106. But if rival app stores did not need to provide value to OEMs to obtain

16 distribution, then they would have no need to make monetary payments to OEMs or investments

17 in creating stores of sufficient quality to attract OEMs. As a result, OEMs’ costs would

18 effectively increase, creating pressure on their thin margins and putting upward pressure on device

19 prices for consumers. See Gentzkow ¶ 29. Eliminating rivals’ need to compete with Play for

20 distribution would have the perverse effect of “unnecessarily entrench[ing]” Play as the primary

21 source of distribution even for third-party app stores. See Kodak, 125 F.3d at 1225–26. And

22 reducing incentives to create quality stores to attract OEMs would harm users and developers who

23 benefit from those investments in quality.

24            2.    This proposed remedy also would seriously weaken Google’s incentives to
25 compete; if Google could no longer differentiate its store through broad distribution, then

26 obtaining such distribution will be less valuable. For example, Walmart would have a reduced

27 incentive to open new stores if all of its rivals could sell their wares in any of Walmart’s stores.

28 See Novell, Inc., 731 F.3d at 1073 (Gorsuch, J.) (“Forcing firms to help one another would also
     51890437.9                                      -60-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 63 of 93




 1 risk reducing the incentive both sides have to innovate, invest, and expand—again results

 2 inconsistent with the goals of antitrust.”); Kodak, 125 F.3d at 1225–26 (striking injunction

 3 provision requiring Kodak to inventory parts produced by third-party parts manufacturers, on the

 4 grounds that the measure would “promot[e] free-riding by requiring Kodak to pay for keeping a

 5 massive inventory of parts” and, by forcing non-Kodak manufacturers to “price replacement parts

 6 at levels necessary to attract” away parts-buyers, “unnecessarily entrenches Kodak as the only

 7 parts supplier”). That is particularly the case if those rivals are not even required to pay Walmart a

 8 fee to sell their goods in Walmart stores.

 9 Objection 4:        Epic’s proposed remedy is not judicially administrable as it would impose
                       a duty to deal, require a redesign of Google’s products, and require the
10                     Court to set prices for Google’s services.

11            1.   Epic’s proposed remedy forces Google to provide competitor Android app stores

12 with access to one of the Play store’s primary services—the distribution of apps—by requiring

13 Google to distribute competitor app stores within Play. This forced access imposes an

14 impermissible duty to deal that is not judicially administrable and will require the Court’s repeated

15 intervention. Neither Epic’s proposed injunction nor its expert’s report explains the terms and

16 conditions (if any) that Google could impose on rival app stores that wish to be distributed through

17 Play to address the risks of harm identified above. Nor do they address the price (if any) that

18 Google could charge for the services it is ordered to provide, or the standards that Google would

19 be permitted to apply in deciding whether an app store maintains sufficient security and privacy

20 protections to warrant distribution through Play. There are hundreds of third party app stores on

21 Android and potentially more in the future—which of these existing and future stores would

22 qualify for distribution through Play? Under what circumstances would Google be permitted to

23 remove a rival app store from Play? Could Google remove an app store that distributes

24 pornographic apps? What happens if Google is subject to a particular regulation in a non-U.S.

25 country that one of the “stores within a store” does not comply with? Would Google be required

26 to distribute third party app stores based in other countries? More broadly, how would Google

27 even obtain information from third party app stores on an ongoing basis about the apps in their

28 stores and their security and privacy policies? Epic’s proposed remedy would require the Court’s
     51890437.9                                     -61-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 64 of 93




 1 repeated intervention to address these and similar questions as they arise.

 2            2.    This proposed remedy also would require technical redesigns for which this Court

 3 would need to act as a “central planner[]”—“a role for which [it is] ill suited.” Trinko, 540 U.S. at

 4 408. Epic’s proposal would require Google to redesign Play, creating technical infrastructure to

 5 distribute other app stores, building new parts of the store, and developing new policies and

 6 procedures to govern app store distribution, all at Google’s expense. Each of these decisions

 7 would implicate the laws of other jurisdictions, putting Google in the untenable position of having

 8 to redesign its product to conform to the laws of those jurisdictions and the strictures of Epic’s

 9 proposed injunction at the same time. And the Court would have to supervise all of these new
10 developments to address the inevitable complaints by Epic or others regarding how Google builds

11 the functionality to distribute third party app stores. See 1/18/24 Hr’g Tr. 11:18-21 (“A United

12 States district judge, whether me or anyone else or any Article III judge in the federal judiciary, is

13 not going to micromanage Google.”).

14            3.    If Google is not permitted to charge other app stores for distribution through Play
15 (and neither the proposed injunction nor Epic’s expert says one way or the other), then Epic’s

16 proposed remedy impermissibly sets the price for Google’s distribution services and its

17 intellectual property at zero, which is not an economically sustainable position for Google. See

18 Gentzkow ¶ 110; linkLine, 555 U.S. at 452–53 (“Courts are ill-suited ‘to act as central planners,

19 identifying the proper price, quantity, and other terms of dealing.’”) (quoting Trinko, 540 U.S. at

20 408); Alston, 594 U.S. at 102 (“Judges must be wary, too, of the temptation to specify ‘the proper

21 price, quantity, and other terms of dealing’—cognizant that they are neither economic nor industry

22 experts.”) (quoting Trinko, 540 U.S. at 408). As the Ninth Circuit recognized in the context of

23 assessing remedies in Kodak, even a monopolist is entitled to charge prices that “the market will

24 bear.” Kodak, 125 F.3d at 1225–26 (striking injunction provision requiring Kodak to furnish parts

25 to rivals at even a “reasonable” price, instead holding that “Kodak should be permitted to charge

26 all of its customers . . . any nondiscriminatory price that the market will bear.”).

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     51890437.9                                      -62-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 65 of 93




 1            K.     Part II.D.3 - Mandating Placement of the Google Play Store

 2            Epic’s proposed injunction would, for six years, prohibit Google from “mandat[ing]” or

 3 “incentiviz[ing]” “the placement of the Google Play Store in any specific location on an Android

 4 device, including but not limited to the default home screen.” Proposed Injunction § II.D.3.

 5 Objection 1:          Epic’s proposed remedy is unnecessary to promote competition.

 6            1.     In the State Settlement, Google has already agreed not to seek exclusive placement

 7 of Play on the “home screen” of an Android device. This provision ensures that rival app stores

 8 can negotiate with any OEM for pre-installation or placement.

 9            2.     Epic’s proposal to bar even non-exclusive placement agreements is unnecessary to
10 promote competition. Google obtains placement (e.g. placement on a device’s “home screen”) for

11 the Google Play store through preload agreements with OEMs. Google’s competitors can enter

12 into similar arrangements by negotiating with OEMs themselves. See Gentzkow ¶¶ 114, 118. To

13 address allegations that Google’s conduct makes it harder for third-party stores to enter such deals,

14 Google has agreed in the State Settlement that, for a period of five years, it will not seek exclusive

15 home screen placement (or exclusive preload deals for that matter) or enforce any such exclusivity

16 terms in existing agreements. State Settlement § 6.6.1. As a result, competing Android app stores

17 will have an unfettered opportunity to negotiate placement agreements with OEMs, including

18 agreements to place competing app stores in an equally prominent location as the Play store. Such

19 competitors could include Microsoft, Meta, and Epic, all of whom have recently announced plans

20 to explore opening an Android app store and have the resources to pay OEMs for placement on

21 Android devices. Shikman Decl. Ex. 9, Epic Games Store (@EpicGames), Twitter (Mar. 20, 2024

22 10:21 AM), https://twitter.com/EpicGames/status/1770500825166545305 (“The Epic Games

23 Store is coming to iOS and Android”); id., Ex. 10, Rachel Gamarski, Dina Bass and Cecilia

24 D’Anastasio, Xbox Talking to Partners for Mobile Store, CEO Spencer Says, BNN Bloomberg

25 (Nov. 30, 2023), https://www.bnnbloomberg.ca/xbox-talking-to-partners-for-mobile-store-ceo-

26 spencer-says-1.2005610; id., Ex. 11, Alex Heath, Meta is planning to let people in the EU

27 download apps through Facebook, The Verge (June 29, 2023 2:03 PM),

28 https://www.theverge.com/2023/6/29/23778928/meta-eu-facebook-plans-app-install-android-ads.
     51890437.9                                      -63-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 66 of 93




 1            3.   In fact, Epic’s proposal would harm competition. Under Epic’s proposed

 2 injunction, Google would be effectively sidelined from competing for any placement anywhere on

 3 an Android device, including non-exclusive placement alongside other Android app stores. See

 4 Gentzkow ¶¶ 118-119. An antitrust injunction that will exclude one competitor in order to benefit

 5 others is inconsistent with the purpose of the antitrust laws. See Microsoft, 373 F.3d at 1230

 6 (“[T]o have addressed itself narrowly to aiding specific competitors . . . could well have put the

 7 remedy in opposition to the purpose of the antitrust laws.”) (citing Brooke Grp., 509 U.S. at 224

 8 (antitrust laws designed to protect “competition, not competitors”)); see also Theme Promotions,

 9 Inc., 546 F.3d at 1009 (“[A] district court might appropriately deny a motion for injunctive relief
10 where the injunction would hinder, rather than promote, competition in the market.”).

11 Objection 2:        Epic’s proposed injunction will harm OEMs and consumers.
12            1.   The evidence at trial established that OEMs seek incentives from app stores in

13 exchange for home screen placement agreements. See ECF 915-1 at 264-266, 281 (Christiansen

14 Designations 43:9-44:5, 52:4-8, 184:11-16). Epic’s proposed injunction would prohibit Google

15 from making bids to OEMs for placement of the Google Play store; only Google’s rivals such as

16 Microsoft, Meta, Epic, and Amazon and others would be able to bid. This would reduce the value

17 that OEMs can obtain from space on their devices’ home screens because rivals could bid less

18 knowing that they would not have to match a bid by Google. See Gentzkow ¶ 119. Indeed, Epic’s

19 proposed remedy would prohibit OEMs from maximizing placement revenue by entering into

20 preinstallation agreements with Play and with another app store (since Google’s preinstallation

21 agreement is non-exclusive). The evidence at trial showed that in 2021 approximately 68 percent

22 of all Android phones sold in the United States came with at least one app store other than Play

23 preinstalled on the device. Tr. 2622:6-18. See also Gentzkow ¶ 114.

24            2.   By reducing the value that OEMs can earn from placement on their devices, Epic’s

25 proposed remedy also would harm consumers of Android devices. OEMs have very narrow

26 margins. See Gentzkow ¶ 120. Numerous Android OEMs have exited the market in recent years,

27 including, for example, LG. See Gentzkow ¶ ¶29 & n.47. If OEMs’ revenue from placement goes

28 down (because other app stores will pay less to OEMs if they do not have to bid against Google),
     51890437.9                                     -64-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 67 of 93




 1 then their margins will fall and they will face pressure to increase device prices, which in turn

 2 would harm consumers. See Gentzkow ¶ ¶ 29, 120. An injunction that harms downstream

 3 consumers is not “an appropriate way to remedy an antitrust violation.” Microsoft, 373 F.3d at

 4 1211. Moreover, if Android device prices increase, that will reduce competitive pressure on

 5 Apple in selling iPhones, which also will harm consumers and competition within that related

 6 market. See Gentzkow ¶¶ 29, 120.

 7                III.    PART III - ANDROID IN-APP PAYMENT SOLUTIONS MARKET

 8            A.         Epic Lacks Standing to Obtain an Injunction Relating to Billing Remedies

 9            Google objects to Epic’s proposed remedies relating to Google’s billing policies, and
10 prices for its services, on the ground that Epic lacks standing to obtain the requested relief. “To

11 have standing, a litigant must seek relief for an injury that affects him in a ‘personal and individual

12 way.’” Hollingsworth v. Perry, 570 U.S. 693, 705 (2013) (citation omitted). Epic has the burden

13 to prove this “in the same way as any other matter on which the plaintiff bears the burden of

14 proof.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). Epic cannot meet this burden.

15            Google’s billing policies affect only developers of apps available in the Google Play store.
16 Epic’s apps are currently not available in the Play store. See, e.g., Tr. 530:17-19 (Koh) (Fortnite

17 removed from Play store). And Google has no obligation to allow Epic’s apps into the Google

18 Play store. See Objections to Part __ re Anti-Retaliation. Accordingly, Epic will not benefit from

19 changes to Google Play’s billing policies or prices. Epic is not paying any fees for the use of the

20 Google Play store or Google Play Billing and therefore would not benefit from provisions of the

21 proposed injunction that would regulate those fees. See Section III.B. Similarly, Epic would not

22 be able to link outside of, or steer inside of, any apps downloaded from the Play store, so

23 provisions related to links and steering to alternative billing systems will not benefit Epic. See

24 Section III.C. And because Epic is not using the Play store, Epic could not benefit from any relief

25 related to whether developers can offer in-app billing systems other than Google Play Billing. See

26 Sections III.D and III.E.

27            To the extent that Epic’s proposed injunction is designed to stimulate competition among
28 third-party payment solutions providers, Epic will not benefit from that alleged effect. First, Epic
     51890437.9                                       -65-
                              GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                    Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
         Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 68 of 93




 1 does not use any third-party providers to handle payments, but instead uses its own “in-house”

 2 payments solution called Epic Direct Payment. 8 There is no evidence that Epic plans to use a

 3 third-party provider to replace its own in-house solution. Second, there is no evidence that Epic

 4 has ever offered Epic Direct Payment to third-party developers for use in apps downloaded outside

 5 of the PC-based Epic Games Store, or that Epic intends to do so.

 6          The Ninth Circuit found that Epic had standing to obtain an anti-steering injunction against

 7 Apple because some iPhone users might substitute to pay for an in-app item by accessing the same

 8 app on PC through the Epic Games Store, thereby generating revenue for Epic. See Apple II, 67

 9 F.4th at 1000. However, there is no evidence to support that theory in this case. Epic excluded
10 PC transactions from the alleged relevant markets, and argued that Android users are unlikely to

11 leave the app for digital items they discover in the app, because “leaving the app” causes “a lot

12 more friction and a lot more dropoff.” Tr. 2557:9-10 (Tadelis); see also Tr. 2554:2-9 (Tadelis)

13 (opining that “web purchases are not a viable substitute for in-app purchases” because of increased

14 “friction”). In any event, at most, the possibility of substitution to transactions in the PC-based

15 Epic Games Store could only support the provisions of the proposed injunction related to steering

16 and not those related to fees or billing methods available within the Play store. 9

17          B.      Parts III.A.3 & A.4 and III.B.2 & B.3 – Price Regulation of Service Fees

18          Epic’s proposed injunction asks the Court to regulate the prices that Google can charge for

19 services in the relevant markets. It also requires Google to publicly disclose confidential cost data

20 and prohibits Google from collecting information to accurately charge a fee on transactions

21 processed through alternative billing systems.

22          Epic’s theory at trial was that Google provides two products in two separate markets: (1)

23 the Play store in an Android app distribution market, and (2) Google Play Billing in an Android

24 in-app billing services market. The State Settlement addresses the requirement that developers

25
     8
26   Shikman Decl., Ex. 13, The Fortnite Team, Announcing Epic Direct Payment on Mobile, Epic
   Games (Aug. 13, 2020),https://www.epicgames.com/fortnite/en-US/news/announcing-epic-direct-
27 payment-on-mobile.
   9
     The Ninth Circuit also found that Epic had standing because its subsidiary company still had
28 apps in the Apple App Store. Apple II, 67 F.4th at 1000. There is no evidence of the same being
   true with respect to the Play store.
   51890437.9                                      -66-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 69 of 93




 1 that use the Play store must use Google Play Billing for purchases of digital content inside apps

 2 downloaded from Play. The user choice billing (“UCB”) program expanded by the State

 3 Settlement allows developers to offer a payment processing option other than Google Play Billing.

 4 When a user selects another payment option, Google adjusts the service fee it charges the

 5 developer by 4% to reflect the fact that the developer continues to use the many other services of

 6 the Play store but not Google Play Billing.

 7            Epic does not dispute (and its experts have admitted) that Google can charge developers

 8 for the valuable services of the Play store in the form of fees on in-app transactions and

 9 subscriptions regardless of whether developers use Google Play Billing or another billing service
10 to process those transactions. After all, a developer that processes transactions through an

11 alternative billing option still receives many benefits from the Play store, including services that

12 enable them to develop, launch, grow, update and monetize their app throughout its lifecycle.

13 Epic, however, asks the Court to set a floor on the price Google charges for using Google Play

14 Billing based on Google’s average total cost of handling in-app transactions each year. See

15 Leonard ¶¶ 4-7. A court-imposed price floor that requires calculating a company’s costs each year

16 is the very opposite of a proper antitrust remedy for a U.S. district court.

17 Objection 1:          Epic’s proposed remedy amounts to impermissible price regulation.
18            1.     The proposed remedy violates the rule that “businesses are free to choose the

19 parties with whom they will deal, as well as the prices, terms, and conditions of that dealing.”

20 linkLine, 555 U.S. at 448. The Supreme Court has instructed district courts not “to specify ‘the

21 proper price, quantity, and other terms of dealing’—cognizant that they are neither economic nor

22 industry experts.” Alston, 594 U.S. at 102 (quoting Trinko, 540 U.S. at 408). The Ninth Circuit

23 has thus rejected judicial efforts to regulate prices in antitrust decrees, even when the only

24 limitation was to require “reasonable” prices. Kodak Co., 125 F.3d at 1225.

25            2.     The Play store provides developers a platform to showcase their apps to billions of

26 Android users around the world, as well as a wide array of tools and services to help developers

27 build, develop, update, improve, and maximize growth and monetization for their apps. Before an

28 app is launched, the Play store provides developers with tools to build and test an Android version
     51890437.9                                      -67-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 70 of 93




 1 of their app. After an app is launched, the Play store provides developers with tools and services

 2 to measure and improve and enable customer acquisition, retention, engagement, and spending.

 3 Epic’s CEO Mr. Sweeney testified about the value that developers receive from various services

 4 provided by the Play store. Tr. 2084:25–2086:21. Testimony at trial also showed the value that

 5 Google Play Billing provides. Tr. 3122:2–3138:2 (Loew).

 6            3.    Epic’s proposal seeks to regulate the difference between the service fee a developer

 7 pays when Google Play Billing is used and the fee when Google Play Billing is not used. As Dr.

 8 Leonard explains, in economic terms, the difference in service fee a developer pays when Google

 9 Play Billing is used and the fee when Google Play Billing is not used is effectively the price of
10 using Google Play Billing. See Leonard ¶ 7. Epic’s proposed injunction seeks to set a floor on

11 this price for Google Play Billing: it must be at least as much as Google’s average total cost of

12 handling in-app transactions. See id. According to Epic, if Google’s price for Google Play Billing

13 is too low and its price for the rest of the services of the Google Play store is too high, then rival

14 billing services will be squeezed: developers can get Google Play Billing for less than what other

15 billing services could charge.

16            4.    Both the Supreme Court and the Ninth Circuit have rejected this price “squeeze”
17 theory as improper and inadministrable price regulation. linkLine, 585 U.S. at 454 (rejecting price

18 squeeze theory that antitrust defendant was required to set prices so that rivals could earn a “‘fair’

19 or ‘adequate’ margin”); FTC v. Qualcomm, Inc., 969 F.3d 974, 1000 (9th Cir. 2020), reh’g en

20 banc denied (9th Cir. Oct. 28, 2020) (rejecting theory that Qualcomm’s patent royalties

21 “impose[d] an anticompetitive surcharge on its rivals’ sales” of chipsets “by squeezing their profit

22 margins”). As the Supreme Court has put it, there are “[i]nstitutional concerns” with requiring

23 courts “to police” prices for two different products. linkLine, 555 U.S. at 452–53.

24            5.    To the extent that Epic’s suggestion is that Google should comply with the
25 proposed injunction by increasing the overall fee that developers pay when they use both non-

26 billing services in the Play store and Google Play Billing, the proposed injunction obviously

27 would harm developers. See Leonard ¶ 10. Increasing prices to developers is exactly the opposite

28 of what Epic argued it was seeking. Indeed, “discouraging a price cut and forcing firms to
     51890437.9                                       -68-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 71 of 93




 1 maintain supracompetitive prices, thus depriving consumers of the benefits of lower prices in the

 2 interim, does not constitute sound antitrust policy.” Brooke Grp., 509 U.S. at 224. The Supreme

 3 Court has advised courts to be very cautious in trying to prevent firms from charging prices that

 4 are too low because “cutting prices in order to increase business often is the very essence of

 5 competition; thus, mistaken inferences” in trying to prevent low prices “are especially costly,

 6 because they chill the very conduct the antitrust laws are designed to protect.” Id. at 226.

 7             6.   Moreover, to the extent that the proposed remedy is instead designed to avoid a

 8 price “squeeze” by capping the fee that Google can charge for the valuable services of the Play

 9 store when another billing service is used, the proposed remedy would improperly prevent Google
10 from charging fair value for its products. See Leonard ¶ 12.

11             7.   Capping Google’s fees for valuable non-billing services would also raise
12 constitutional concerns under the Takings Clause. E.g., Ruckelshaus v. Monsanto, 467 U.S. 986,

13 1003–04 (1984) (Fifth Amendment required the government to pay Monsanto when law required

14 it to publish confidential trade secret data).

15 Objection 2:         Epic’s use of average total cost to set Google’s fee is legally unsupported,
                        vague, and would be impossible to administer
16
               1.   Epic’s proposal to set Google’s fees based on average total cost is legally unsound.
17
     Rather, under Ninth Circuit law, a below-cost pricing claim must allege prices are below marginal
18
     or average variable cost. Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 910 (9th Cir. 2008)
19
     (“the appropriate measure of costs for our cost-based standard [for proving predation] is average
20
     variable cost”); see also Brooke Grp., 509 U.S. at 256 n.16 (referring to predatory pricing as
21
     below “incremental cost”); See Leonard ¶¶ 14-19. (explaining need to use variable costs, not total
22
     costs).
23
               2.   Additionally, the term “average total cost for handling in-app transactions” is vague
24
     and would require repeated judicial intervention to set Google’s prices. Neither Epic nor its
25
     experts explain whether operating costs are included.
26
               3.   Nor is it clear one could accurately identify and calculate operating costs for
27
     providing Google Play Billing separate from Google Play since billing services are integrated into
28
     51890437.9                                      -69-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 72 of 93




 1 the suite of services provided by Google Play. See Leonard ¶ 19. Any calculation would depend

 2 on an allocation of different operating costs to “handling in-app transactions,” which is artificial

 3 and highly disputable. See id. Indeed, the parties presented dueling accounting experts on that

 4 very issue at trial. See id. Epic’s proposed remedy would require the Court to resolve those sorts

 5 of disputes regularly in the course of setting Google’s prices.

 6 Objection 3:         The proposed remedy is not necessary to promote competition.

 7            1.    Epic did not argue at trial that Google’s allegedly inflated service fees were a form

 8 of conduct that harmed competition. See Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d

 9 536, 549 (9th Cir. 1991) (“setting a high price may be a use of monopoly power, but it is not in
10 itself anticompetitive”); see also infra Objection No. 3 (explaining that Epic has not attempted to

11 prove a predatory pricing claim in this case). Rather, Epic asserted that Google’s service fees

12 were inflated because Google had used other conduct to block competition. Thus, regulating

13 Google’s service fees is not necessary to restore competition or stop the conduct that Epic alleged

14 at trial was anticompetitive.

15            2.    The proper remedy for any alleged harm to competition is not to set Google’s
16 prices for its services but rather to restore competition that leads to prices at the competitive level.

17 Nat’l Soc. of Pro. Eng’rs, 435 U.S. at 695; Standard Oil Co. v. FTC, 340 U.S. 231, 248 (1951).

18 As Epic’s own expert, Dr. Tadelis, explained, “a properly applied but-for world with unbundled

19 pricing would be a world where competition would drive down Google’s charges for its payment

20 solution services” and “app distribution services.” Shikman Decl., Ex. 14, Tadelis Reply Report

21 ¶ 132; see also Leonard ¶ 12. Dr. Bernheim agreed at trial that “competition leads to the provision

22 of high-quality products at low prices.” Tr. 2376:11-12 (emphasis added).

23            3.    Google’s settlement with the States accomplishes this by addressing the conduct
24 that the jury found to be anticompetitive, including the requirement that developers that use the

25 Play store must use Google Play Billing for purchases of digital content inside apps downloaded

26 from Play. The user choice billing program expanded by the State Settlement allows developers

27 to offer a payment processing option other than Google Play Billing. Further, when a user selects

28 another payment option, Google adjusts the service fee it charges the developer to reflect the fact
     51890437.9                                       -70-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 73 of 93




 1 that the developer continues to use many of the other services of the Play store but not Google

 2 Play Billing.

 3            4.   As discussed above, Epic and its experts do not explain how Google’s fee for non-

 4 billing services could coerce developers to choose Google Play’s billing system. Rather, it

 5 appears that Epic is claiming that Google’s price for Google Play Billing is too low. Dr. Tadelis

 6 claims that “Google set the 4% ‘billing optionality discount’ for User Choice Billing…well below

 7 the level that…would give Developers the financial incentive to de-integrate Google Play Billing.”

 8 ECF 952-2, Statement of Steven Tadelis (“Tadelis”) ¶ 10. Therefore, Epic’s proposal seeks to

 9 force Google to increase the price it charges for Google Play Billing to a level at or above its
10 “average per-transaction total cost for handling in-app transactions in the preceding calendar

11 year.” See Leonard ¶¶ 7, 10.

12            5.   Moreover, even if Google could be required to set its prices to protect rival
13 payment processing services’ profits, the facts show that rival payment processors can profitably

14 set prices that would make it economically feasible for developers to choose alternatives to Google

15 Play Billing. The vast majority of in-app transactions are processed using credit cards or digital

16 wallets like PayPal. See Leonard ¶ 31. Documents cited in Dr. Tadelis’s own expert statement

17 show that Google’s average cost of payment processing for these forms of payment is less than

18 3%. See, e.g., ECF 887-31, Tr. Ex. 2698-046 (cited at Tadelis at 5 n.27) (2.6% average). Thus, a

19 rival payment processor could profitably charge 3% for the use of its billing system. This is

20 confirmed by record evidence showing that developers pay less than 4% for payment processing.

21 See Leonard ¶ 32. Further, Google is not in a position to predict what services payment processors

22 may choose to include as a part of the services they may provide, and how they will seek to set the

23 prices for those services, which underscores the reasonableness of evaluating the most used and

24 readily available forms of payment.

25            6.   These numbers show that Epic’s price setting remedy is not necessary to promote
26 competition among billing systems. For example, the evidence at trial showed that the vast

27 majority of developers who offer in-app purchases pay a service fee of 15% or lower. Tr. 1394:2-

28 13 (Pichai). A developer that pays a 15% service fee on a digital goods transaction purchased
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 74 of 93




 1 through Google Play Billing would currently pay a service fee of 11% on that same digital goods

 2 transaction handled by another payment processor. The few large developers that pay a 30%

 3 service fee on a transaction processed through Google Play Billing would pay a 26% service fee

 4 on digital goods purchased through another billing system. Tr. 890:8-14 (Kochikar). The

 5 documents cited by Dr. Tadelis show that competitive billing systems could profitably charge 4%

 6 or lower, meaning that developers at any service fee level could use an alternative to Google Play

 7 Billing at a similar or lower service fee. See Leonard ¶¶ 5, 30-32.

 8            7.     Dr. Tadelis misleadingly claims that Google’s average payment processing costs

 9 for Google Play Billing is between 4 and 6%. Tadelis at n.26. But this includes Google’s costs
10 for processing Google Play branded gift cards, which cannot be used to make purchases on

11 alternative billing systems. See Leonard ¶¶ 21-24, 31. In certain markets, it also includes direct

12 carrier billing (“DCB”), a high-cost form of payment. See id. However, both gift cards and DCB

13 involve costs that go beyond handling in-app transactions. See Leonard ¶ 21. Detailed allocations

14 would be needed to limit gift card and DCB costs to only the costs related to handling in-app

15 transactions. See Leonard ¶ 24. Moreover, there is no indication that rival billing providers would

16 offer DCB or gift cards. See Leonard ¶ 31. If Google was required to price Google Play Billing

17 high enough to cover DCB and gift cards—forms of payment which developers may not choose to

18 implement and may reflect costs other than those for processing transactions—it would have a

19 strong economic incentive to drop DCB and gift cards as a form of payment, which would harm

20 consumers by removing them as a payment option. See Leonard ¶ 27.

21 Objection 4:          Epic’s proposed remedy would improperly and unfairly require Google to
                         disclose confidential information about its costs.
22
              1.     Epic’s proposed remedy would also impermissibly require Google to disclose to the
23
     public confidential, competitively sensitive information. As an initial matter, such forced
24
     disclosure would raise constitutional concerns under the Takings Clause. E.g., Ruckelshaus, 467
25
     U.S. at 1003–04 (Fifth Amendment required the government to pay Monsanto when law required
26
     it to publish confidential trade secret data).
27
              2.     Further, requiring Google to disclose its exact cost structure for payment
28
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                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 75 of 93




 1 processing would give its rivals an unfair advantage in setting their own prices. Google’s rivals

 2 would have access to Google’s cost structure that would not be available to them in a competitive

 3 market, and Google would not have access to the rivals’ cost structure. Google objects to Epic’s

 4 proposed fee cap in its entirety. But if that objection were overruled and the Court ordered the

 5 requested cap, there is no good reason why the mechanisms for ensuring that Google complies

 6 with any injunction would not be sufficient to ensure compliance with the cap on a confidential

 7 basis.

 8 Objection 5:         Epic’s proposed ban on Google obtaining information regarding
                        transactions processed on alternative billing systems does not remedy any
 9                      claimed anticompetitive conduct.
10            1.    Epic proposes to prohib Google from using APIs or requiring developers to provide
11 financial information on transactions processed through alternative billing systems but fails to

12 explain how this serves any competitive purpose. See Leonard ¶ 34. Epic’s proposal allows

13 Google to collect a fee for non-payment-processing services provided by Play based on the

14 transactions processed through alternative billing systems. For Google to collect such a fee,

15 developers must be able to report transactions efficiently, and Google must be able to receive

16 those reports, through APIs, which can automatically transfer that information at scale. See

17 Leonard ¶ 35. Any “contractual right” to charge a service fee on transactions processed through

18 alternative billing systems—see Apple II, 67 F.4th at 993—must come with a right to confirm the

19 amount and accuracy of sales processed through those billing systems. Epic’s proposal is

20 designed entirely to frustrate Google’s ability to ensure that it is paid fair value for its services.

21 Neither Epic nor its experts explain how Google would harm competition by using APIs to report

22 transactions on which it indisputably can charge fees.

23            2.    Under the State Settlement, Google’s ability to collect data is not unfettered:
24 Google may only “require from developers the minimum amount of data necessary to support the

25 offering of an alternative billing system and for collection of its service fee. Google will not use

26 this data for purposes of competing with those developers’ apps.” Settlement Agreement § 6.3.2.

27

28
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 76 of 93




 1            C.     Parts III.A.1 and A.2 - Free Flow of Information Regarding Out of App
                     Purchasing Options (Steering)
 2
              Epic’s proposed injunction prohibits Google from “limit[ing], control[ing], or restrict[ing]
 3
     the ways an app can inform Users about out-of-app purchasing options” and from “restrict[ing],
 4
     prohibit[ing], imped[ing], disincentiviz[ing], or deter[ring] Developers from informing Users
 5
     about out-of-app purchasing options or from offering different prices for in-app purchases using
 6
     Google Play Billing and using out-of-app payment options.”
 7
     Objection 1:        Epic’s proposed remedy is unnecessary to promote competition in light of
 8                       the provisions in the State Settlement addressing developer communication
                         with users.
 9
              1.     Google has already agreed to most of the changes requested by Epic as part of its
10
     settlement with the States. Under the settlement, developers will be able to communicate with
11
     users, including steering them to alternative billing systems inside the app. With UCB, developers
12
     will be able to offer an alternative billing system alongside Google Play Billing. State Settlement
13
     § 6.11.1. Developers also will be able to link to the developer’s existing web-based billing
14
     solution in an embedded web browser that a user can access without leaving the app. Id.
15
     Developers will be able to “inform Users within the app about different pricing or promotions that
16
     may be available if the User uses the developer’s alternative in-app billing system.” Id. §
17
     6.11.1(a). Developers will be able “to use contact information obtained outside the app or in-app”
18
     to email or text users about alternative ways to pay for in-app content. Id. § 6.11.2. Developers
19
     will be able to inform users about alternative ways to pay outside the app (but without providing
20
     an external link to those methods). Id. §§ 6.11.3, 6.11.4. Finally, developers will be able to
21
     inform users about any service fees (or other fees) associated with Google Play or Google Play’s
22
     billing system. Id. § 6.11.5. In short, under the settlement, developers will have many ways to
23
     inform users about alternative billing options and payment methods and several ways to steer
24
     users to those options.
25
              2.      These provisions were carefully crafted to give developers many ways to inform
26
     users about alternative billing options and payment methods and several ways to steer users to
27
     those options, while preserving Google’s right to impose some narrow restrictions to preserve the
28
     51890437.9                                       -74-
                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
          Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 77 of 93




 1 user experience and ensure the safety and privacy of its users. See, e.g., State Settlement §§

 2 6.11.2; 6.11.4(c); 6.11.5. Such provisions are necessary because steering users outside the app,

 3 particularly through links, carries inherent risks (e.g., through links that lead to fraudulent

 4 websites 10) and may be done in ways that degrade the user experience (e.g., through unwanted

 5 spam emails or pop-ups). Epic’s proposed remedy upsets this balance by eliminating Google’s

 6 ability to impose even limited restrictions on in-app communications. See Gentzkow ¶¶ 122-131.

 7 This further restriction is unnecessary in light of the many ways that the State Settlement allows

 8 developers to communicate with users about alternative billing systems.

 9 Objection 2:         Epic’s proposal is overly vague and will require repeated judicial
                        intervention.
10
             1.     Epic’s proposal to prohibit Google from “restrict[ing], prohibit[ing], imped[ing],
11
     disincentiviz[ing] or deter[ring] developers from informing users about out-of-app purchasing
12
     options” is overly vague and would require repeated judicial intervention. Any action Google
13
     takes to improve or promote Google Play Billing may, in effect, disincentivize developers from
14
     steering users to an alternative billing system. See Gentzkow ¶ 127. Epic’s proposal would
15
     require repeated Court intervention to determine whether particular actions—including actions
16
     intended to promote Google Play Billing or to preserve user experience, safety, and privacy—
17
     “disincentivize” developers, and if so whether they are covered by Epic’s equally vague carve-out
18
     for “price or quality improvements.”
19
     Objection 3:       Epic’s proposed remedy would harm users and force Google to offer terms
20                      and conditions preferred by their rivals, thus preventing it from designing
                        Play in a way that promotes the best user experience.
21
             1.     Epic’s proposal would harm users by prohibiting Google from regulating
22
     developers’ use of tactics that degrade user experience. For example, Google would also be
23
     forced to distribute apps even if they provided a poor user experience by inundating users with
24
     spam pop-ups. Epic’s proposal would also require Google to allow external links (e.g., links to
25

26
     10
27    See Shikman Decl., Ex. 15, Fed. Trade Comm’n, How to Recognize and Avoid Phishing Scams
   (Sept. 2022), https://consumer.ftc.gov/articles/how-recognize-and-avoid-phishing-scams (noting
28 how scammers use email and texts to trick users by asking them to “click on a link to make a
   payment — but the link has malware”).
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
          Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 78 of 93




 1 external browsers), which would open a new app—a web browser—to complete the transaction.

 2 The user then has to navigate back to the app, which is not a good user experience. Users may

 3 choose to acquire and interact with apps from the Play Store with the expectation that they will not

 4 be forced to exit a safe and vetted app environment to make a purchase and then forced to find

 5 their way back into the app they left. 11 As Epic’s expert Dr. Tadelis testified, “leaving the app”

 6 causes “a lot more friction and a lot more dropoff.” Tr. 2557:9-10 (Tadelis); see also Tr. 2554:2-9

 7 (Tadelis) (opining that “web purchases are not a viable substitute for in-app purchases” because of

 8 increased “friction”).

 9           2.     Epic’s proposal would thus force Google to carry apps that do not comport with
10 how Google wants to design and promote Google Play. In order to compete as a safe and trusted

11 app store, Google must be able to decide which apps to distribute and what policies they must

12 follow. Therefore, it has restrictions on everything from content (e.g., no pornographic material)

13 to data access (e.g., prohibiting the sale of personal and sensitive user data from an app). One

14 aspect in designing and promoting a safe and trusted app store is to ensure that users can operate

15 and transact within a safe and vetted app environment without being inundated with spam or sent

16 outside the app via an external link. Epic’s proposal would prevent Google from offering users

17 that selling point, and thus deprives Google of its unilateral discretion on choosing with whom it

18 can deal and on what terms. The antitrust laws do not impose such a duty to deal. See Trinko, 540

19 U.S. 398 (2004); see also ECF 700. “As the Supreme Court has repeatedly emphasized, there is

20 ‘no duty to deal under the terms and conditions preferred by [a competitor’s] rivals[.]’”

21 Qualcomm, 969 F.3d at 993–94 (citations omitted).

22

23

24

25

26
     11
      In contrast, under the States’ settlement, Google will allow links to alternative billing systems as
27 long as they are in an embedded webview—i.e., an embedded browser page that a user can access
   without leaving the app. This ensures a good user experience because the user doesn’t have to
28 leave the app to complete the transaction. After the transaction is completed, the user is
   automatically returned to the app.
   51890437.9                                       -76-
                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 79 of 93




 1 Objection 4:          A permanent injunction is unwarranted.

 2            1.     Google further objects to Epic’s proposed remedy on the ground that it would harm

 3 users by preventing Google from taking reasonable security and privacy precautions in the future.

 4 While Google’s settlement with the States ensures that developers will be able to communicate

 5 with users in various ways for up to six years, Epic’s proposal permanently bars Google from

 6 imposing any restrictions on developers “directing or informing” users of payment methods

 7 outside of apps. Allowing developers to steer users outside the app may open up a new vector for

 8 fraud or malware. Epic’s proposed remedy goes too far because Google would be unable to

 9 respond to emerging security and privacy risks. See New York v. Microsoft, 224 F. Supp. 2d 76,
10 183–84 (D.D.C. 2002) (Where there is “substantial uncertainty” as to the future demands of a

11 given industry, it can be difficult to predict what effect a given remedy will have “a decade from

12 now.”); see also Alston, 594 U.S. at 102 (“‘An antitrust court is unlikely to be an effective day-to-

13 day enforcer’ of a detailed decree, able to keep pace with changing market dynamics alongside a

14 busy docket.’”) (citation omitted).

15            D.     Part III.B.1 - No Tying of Distribution to Payments
16            As discussed above, under Google’s settlement with the States, Google no longer prohibits

17 developers from including an alternative billing system in apps distributed through the Play store,

18 so developers are free to offer alternative in-app payment options alongside Google Play Billing

19 under its User Choice Billing (“UCB”) offering. Under Epic’s proposed injunction, however,

20 developers would be able to eliminate this choice by offering alternative in-app payment solutions

21 in lieu of Google Play Billing.

22 Objection 1:          Epic’s proposed remedy is not reasonably necessary to address Google’s
                         tying conduct.
23
              1.     Epic’s proposal goes beyond what is necessary to address Google’s tying conduct.
24
     Epic’s theory at trial was not that Google refuses to permit developers to use the Play store unless
25
     they also use Google Play Billing; after all, it was undisputed that 97% of developers that use the
26
     Play store do not use Google Play Billing. Tr. 1394:2-8 (Pichai); Tr. 3143:16-19 (Loew). Rather,
27

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     51890437.9                                      -77-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
          Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 80 of 93




 1 Epic’s theory was that Google engaged in a “negative tie” 12: if developers use the Play store, they

 2 cannot use alternative billing systems. By requiring user choice billing (“UCB”), the State

 3 Settlement addresses that negative tie because it permits developers to use alternative billing

 4 systems in apps installed from the Play store. State Settlement § 6.3.1.

 5 Objection 2:        Epic’s proposed remedy would harm users and decrease user choice.

 6           1.    Epic’s proposed remedy would deprive users of the ability to choose a single secure

 7 billing system across all of their apps where they can easily track purchases, manage payment

 8 options, exercise parental controls, manage subscriptions, and resolve billing issues for all apps

 9 downloaded via the Google Play store. Google Play Billing provides that functionality across all
10 apps distributed by Google Play, but other payment processing services would not. Accordingly,

11 if developers do not offer Google Play Billing as an option, then users will not have the ability to

12 use a cross-app billing service. See Gentzkow ¶¶ 136-139. The State Settlement preserves user

13 choice by ensuring that developers offer Google Play Billing as one option for the user to select

14 for their payment system.

15           2.    While Google has incentives to provide users a positive cross-app experience in the
16 purchase of digital goods—including by making it easy to obtain refunds, allow parents to

17 exercise control over purchases by their children, and cancel subscriptions—app developers’ goals

18 can be more narrow, and driven by an economic incentive to maximize profits from transaction

19 volume. See Gentzkow ¶ 138. The record is replete with examples of developers taking

20 advantage of users by, for example, making it difficult to cancel subscriptions, refund purchases,

21 or trick minors into making purchases. ECF 888-85, Trial Ex.10928 (large developer recognizing

22 that making it easy for users to cancel subscriptions has a negative impact on LTV); Tr. 1645:1–

23 1646:2 (Rasanen) (explaining Trial Exhibit 10928 language as large developer wanting to “keep

24 people on their subscriptions because it was hard to cancel them and so they had people

25 continuously paying”); Tr. 3125:15-18 (Loew) (“Q. Has the Google Play team heard feedback

26
     12
27     “Under the more traditional positive tie, sale of the desired (“tying”) product is conditioned on
   purchase of another (“tied”) product. A negative tie occurs when the customer promises not to take
28 the tied product from the defendant's competitor.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836
   F.3d 1171, 1178 (9th Cir. 2016) (citations omitted).
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
          Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 81 of 93




 1 from users about developers making it difficult to cancel subscriptions in an app? A. Yes, we’ve

 2 heard that.”); Shikman Decl., Ex. 16, Decision and Order at 1, In re Epic Games, Inc., FTC

 3 Docket No. C-4790 (Mar. 13, 2023 (complaint and consent order), https://www.ftc.gov/

 4 system/files/ftc_gov/pdf/1923203epicgamesfinalconsent.pdf (fining Epic Games for using “dark

 5 patterns” to get users, including minors, to make purchases). 13 Google has observed the same

 6 concern expressed by users.

 7 Objection 3:         Epic’s proposal is overly vague and will require repeated judicial
                        intervention.
 8
             1.     Epic’s proposal to prohibit Google from “enforc[ing] . . . guidelines or policies, or
 9
     impos[ing] technical restrictions or financial terms that . . . disincentivize or deter Developers
10
     from integrating any Alternative In-App Payment Solution . . . or from offering different prices for
11
     in-app purchases” is overly vague and would require repeated judicial intervention. Any action
12
     Google takes to implement or enforce guidelines or policies may, in effect, disincentivize or deter
13
     developers from integrating an alternative billing system or offering different prices for in-app
14
     purchases. Epic’s proposal would require repeated Court intervention to determine whether
15
     particular actions—including actions intended to preserve user experience and safety—
16
     “disincentivize or deter” developers, and if so whether they are covered by Epic’s equally vague
17
     carve out for “quality improvements.”
18
             2.     For example, one requirement Google has for UCB is that an alternative billing
19
     system must comply with the Payment Card Industry Data Security Standard (PCI-DSS) if
20
     handling credit and debit card data. 14 “PCI DSS provides a baseline of technical and operational
21

22

23
     13
24      Pursuant to Federal Rules of Evidence, Rule 201, Defendant Google requests judicial notice of
     Decision and Order, In re Epic Games, Inc., FTC Docket No. C-4790 (Mar. 13, 2023 (complaint
25   and consent order),https://www.ftc.gov/system/files/ftc_gov/pdf/1923203epicgames
     finalconsent.pdf (Shikman Decl., Ex. 16). The Court may take judicial notice of both documents
26   as matters of public record, and as court documents already filed in other courts. E.g., Holder v.
     Holder, 305 F.3d 854, 866 (9th Cir. 2002); Lemoon v. Cal. Forensic Med. Grp., Inc., 575 F. Supp.
27   3d 1212, 1230 (N.D. Cal. 2021).
     14
        Shikman Decl., Ex. 17, Play Console Help, Enrolling in the user choice billing pilot,
28   https://support.google.com/googleplay/android-developer/answer/12570971?hl=en&ref_topic=
     3452890&sjid=962272976662676777-NC.
     51890437.9                                     -79-
                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
          Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 82 of 93




 1 requirements designed to protect payment account data.” 15 It is not clear whether Epic’s proposal,

 2 as written, would prohibit Google from enforcing this requirement to protect cardholder data since

 3 a developer that does not want to comply with PCI-DSS would be “disincentivized” or “deterred”

 4 from offering an alternative billing system. See Gentzkow ¶ 142.

 5 Objection 4:        Epic’s proposed remedy would force Google to offer terms and conditions
                       preferred by its rivals, thus preventing it from designing Play in a way that
 6                     promotes the best user experience.

 7           1.    Epic’s proposal would force Google to carry apps that do not comport with how

 8 Google wants to design and promote Google Play. See Gentzkow ¶¶ 136-137. In order to

 9 compete as a safe and trusted app store, Google must be able to decide which apps to distribute
10 and what policies they must follow. Therefore, it has restrictions on everything from content (e.g.,

11 no pornographic material) to data access (e.g., prohibiting the sale of personal and sensitive user

12 data from an app). One aspect in designing and promoting a safe and trusted app store is to ensure

13 that Google Play Billing is one option in apps that sell digital content. That way, Google Play

14 users can install apps from Google Play knowing that if they purchase items in the app, they can

15 use Google Play Billing, if they so choose, without giving their payment information to the

16 developer and knowing that they can easily track their purchase, cancel a subscription, or monitor

17 their child’s purchases. Epic’s proposal would prevent Google from offering users that selling

18 point, and thus deprives Google of its unilateral discretion on choosing with whom it can deal and

19 on what terms. The antitrust laws do not impose such a duty to deal. See Trinko, 540 U.S. 398

20 (2004); see also Order on Google’s Mot. for Summary Judgment, ECF 700. “As the Supreme

21 Court has repeatedly emphasized, there is ‘no duty to deal under the terms and conditions

22 preferred by [a competitor’s] rivals[.]’” Qualcomm, 969 F.3d at 993–94.

23

24

25

26

27
     15
     See Shikman Decl., Ex. 18, PCI Sec. Standards Counsil, PCI DSS v.4.0 Quick Reference Guide
28 at 8, https://docs-prv.pcisecuritystandards.org/PCI%20DSS/Supporting%20Document/PCI_DSS-
   QRG-v4_0.pdf.
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
          Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 83 of 93




 1           E.     Part III.C.3 and C.4 - No Discrimination on the Basis of Payment Solution

 2           Epic’s proposed injunction, among other things, would forbid Google from engaging in

 3 “any conduct” that “impedes access” to (1) “the Android platform, any Android functionality

 4 and/or features or APIs,” or (2) “any of Google’s products or services,” based on whether the

 5 developer integrates Google Play Billing. Google objects to these remedies for the same reasons

 6 outlined in Sections II.G and II.H, where applicable, which address these subjects in greater detail.

 7 For example, some APIs may not be appropriate for developers that are not using Google Play

 8 Billing. In addition, Google objects on the following grounds.

 9 Objection 1:         Epic’s proposed remedy is not supported by the trial record.
10           1.     At trial, Epic did not present any evidence that Google withholds any aspect of “the

11 Android platform, any Android functionality and/or features or APIs” based on whether the

12 developer integrates Google Play Billing. Nor did Epic present evidence that Google withholds

13 such access to Google’s other “products or services” based on refusal to integrate Google Play

14 Billing. Epic also did not present evidence regarding any harm to competition caused by Google’s

15 policies or practices regarding access to Android functionalities or Google’s other products and

16 services. At the end of trial, the jury was not asked to find and did not find that any conduct

17 related to this proposed remedy was anticompetitive, nor has Epic shown any connection between

18 the conduct found anticompetitive and Google’s practices related to APIs. Under these

19 circumstances, there is no basis to impose Epic’s proposed remedy. Indeed, Epic has failed to

20 show any threat of future injury and lacks standing to seek this relief.

21 Objection 2:         The proposed remedy is impermissibly vague and would require constant
                        judicial supervision.
22
             1.     Google further objects that this proposed remedy is impermissibly vague. As an
23
     initial matter, Epic’s proposed injunction does not clarify whether Google must make available all
24
     “features or APIs,” or whether such “features or APIs” are limited to those relating to the Android
25
     operating system. 16 If the injunction were limited to Android “functionalit[ies and/or features or
26

27
     16
      Dr. Tadelis suggests that this remedy would be limited to Android functionalities. Statement of
28 Steven Tadelis, ECF952-2 (“Tadelis”) ¶ 28 (stating concern that Google would “withhold[] key
   Android functionality from Developers who do not use Google Play Billing exclusively).
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 84 of 93




 1 APIs,” the injunction fails to define or specify how to determine such a limitation, including

 2 potential functionalities that overlap with Play store features. This kind of ambiguity cannot be

 3 cured without a detailed technical protocol, which would embroil the Court in technical and

 4 definitional disputes. The proposed injunction therefore would risk requiring the “courts to act as”

 5 a “central planner[]”—“a role for which [it is] ill suited.” Trinko, 540 U.S. at 408; see Alston, 594

 6 U.S. at 102 (“Judges must be sensitive to the possibility that the continuing supervision of a highly

 7 detailed decree could wind up impairing rather than enhancing competition” because “the decrees

 8 themselves may unintentionally suppress procompetitive innovation and even facilitate

 9 collusion.”) (internal quotation marks & citations omitted).
10                                   IV.    PART IV - COMPLIANCE
11            Google objects to Epic’s proposed compliance structure on the grounds that it is

12 unnecessary and unduly burdensome in light of the robust compliance protocol in the State

13 Settlement.

14 Objection 1:          Epic’s proposed compliance structure is unnecessary in light of the State
                         Settlement.
15
              1.     Google objects to Epic’s proposed compliance structure on the ground that it is
16
     unnecessary in light of the State Settlement. Epic’s proposed compliance structure would require
17
     Google to create a Board of Directors committee, including the retention of a compliance officer
18
     and collect extensive documentation, all of which is unnecessary, as such measures do not
19
     materially advance the goal of evaluating Google’s actual compliance with any injunction and
20
     seem intended instead to create burdensome administrative obligations for Google. The State
21
     Settlement compliance protocol, which Google already agreed to implement, prioritizes
22
     establishing clear documentation of the specific actions Google takes to implement and comply
23
     with the conduct provisions (i.e. State Settlement § 6) of the State Settlement. The information
24
     Google must provide for this purpose will be reviewed by an independent professional with the
25
     authority to request follow up information from Google, and who will perform an independent
26
     assessment and evaluation of Google’s compliance. This compliance protocol can easily be
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                           GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 85 of 93




 1 expanded to address monitoring of any injunctive relief ordered here.

 2            2.   Epic’s proposal would have Google adopt a separate compliance protocol in

 3 addition to that required by the State Settlement, requiring Google to establish a compliance

 4 committee within its Board of Directors, hire a compliance officer, and collect extensive

 5 documentation from numerous individuals within the company. This proposal is unnecessary and

 6 unduly burdensome. There is no basis to require that Google create a committee of the Google

 7 Board of Directors, which Epic demands be comprised of at least three independent directors, for

 8 the purpose of monitoring Google’s compliance with any injunction. Nor does it make sense to

 9 require Google to retain a permanent compliance officer who would report to Google’s CEO, in
10 addition to the independent professional who will already be retained as part of the State

11 Settlement, to monitor compliance. See, e.g., Conwood Co., L.P., et al. v. United States Tobacco

12 Co., No. 5:98-CV-108-R, 2000 WL 33176057, at *2 (W.D. Ky. Aug. 10, 2000) (declining to

13 appoint an “independent committee to UST’s board of directors to enforce compliance with the

14 [injunction].”). Moreover, demanding that Google restructure its Board of Directors consistent

15 with Epic’s demands would require the Court to micromanage Google’s business activities in a

16 way that is contrary to Supreme Court precedent.

17            3.   Additionally, forcing a large, vaguely-defined group of employees to participate in
18 annual attestations will not meaningfully advance the goal of monitoring Google’s compliance

19 with any injunction. In addition to being administratively burdensome, the attestations will

20 provide little information that this Court could actually use to evaluate Google’s compliance with

21 the injunction. Instead, the reports that Google will already provide as part of the State

22 Settlement, which require documentation of Google’s compliance activities, are a more useful

23 means of assessing the specific actions and conduct Google has performed to ensure compliance

24 with any injunction.

25

26

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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 86 of 93




 1                                V.      PART V - ANTI-RETALIATION

 2 Objection 1:          Epic’s “anti-retaliation” proposal creates an affirmative duty to deal,
                         which violates settled antitrust law.
 3
              1.     Epic’s “anti-retaliation” proposal is not anti-retaliation but rather a mandate for
 4
     Google to distribute Epic’s apps through Play despite undisputed evidence at trial that Epic
 5
     deceived Google by submitting a hot-fix that Epic knew violated Google’s policies. Google
 6
     objects to this proposed remedy on the ground that it violates the settled legal rule that a party is
 7
     not required to deal with its rivals. See Trinko, 540 U.S. at 408; Qualcomm, 969 F.3d at 993–94.
 8
     Google has no duty under the antitrust laws to deal with Epic—whether at all or on terms that Epic
 9
     prefers. Qualcomm, 969 F.3d at 993 (“‘[T]he Sherman Act does not restrict the long recognized
10
     right of [a] trader or manufacturer engaged in an entirely private business, freely to exercise his
11
     own independent discretion as to parties with whom he will deal.’” (quoting Trinko, 540 U.S. at
12
     408)). An injunction requiring Google to permit Epic’s apps alone back into Play will also not
13
     restore or enhance competition in any of the markets the jury found to have been impaired by
14
     Google’s conduct.
15
              2.    In addition, the Ninth Circuit recognizes that a party has a “legitimate business
16
     reason” for refusing to do business with a company after being sued by that same company: to
17
     “avoid[] future litigation whose costs exceed[] the benefits from doing business.” Zoslaw v. MCA
18
     Distrib. Corp., 693 F.2d 870, 890 (9th Cir. 1982); see also id. at 889–90 (“[W]e have not found
19
     any case in which a ‘refusal to deal’ based on a customer’s prosecution of a suit against a
20
     manufacturer has been held to constitute an unreasonable restraint of trade. This when considered
21
     is not astonishing, for the relationship between a manufacturer and his customer should be
22
     reasonably harmonious; and the bringing of a lawsuit by the customer may provide a sound
23
     business reason for the manufacturer to terminate their relation.”) (citing House of Materials, Inc.
24
     v. Simplicity Pattern Co., 298 F.2d 867, 871 (2d Cir. 1962)); Tyntec Inc. v. Syniverse Techs., LLC,
25
     No. 8:17-CV-591-T-23SPF, 2019 WL 9829361, at *9 (M.D. Fla. Aug. 19, 2019), report and
26
     recommendation adopted, No. 8:17-CV-591-T-23SPF, 2020 WL 2786873 (M.D. Fla. May 29,
27
     2020) (“An antitrust suit filed against a party is a legitimate reason for that party’s refusing to
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 87 of 93




 1 deal.”).

 2            3.   At trial, Epic conceded that it secretly incorporated its own payment solution into

 3 Fortnite on Play and that doing so violated the terms of the DDA). See Tr. 3004:6-8 (Grant)

 4 (“And that’s because you understood that releasing the Hotfix would breach your contract with

 5 Google; correct? A. Yes, we did.”); Tr. 3050:5-8 (Court) (“So to my recollection, Epic was open

 6 and very public about not paying Google Bit [sic] Play’s fees . . . [I]n fact, one of the witnesses

 7 here today said, “Yes, we breached the contract.”). Google should not be forced to do business

 8 with a company that knowingly and openly violated the terms of its policies. Epic’s conduct

 9 ended any “reasonably harmonious” relationship with Google, justifying Google in choosing not
10 to do business with Epic.

11            4.   Google further objects to this proposed remedy on the ground that it is unworkable.
12 Under Epic’s proposal, Google has the burden to prove that a decision to not distribute an Epic

13 app through Play is not retaliatory. Disputes about Google’s reasons for deciding not to do

14 business with Epic and on what terms would embroil this Court in the very type of

15 micromanagement that courts are “ill-suited” to handle. Epic Games, Inc. v. Apple Inc., 559 F.

16 Supp. 3d at 1069 (stating that, consistent with Supreme Court precedent, “courts are not well-

17 suited to” “micromanage business operations”); see also Alston, 594 U.S. at 102 (“Judges must be

18 sensitive to the possibility that the ‘continuing supervision of a highly detailed decree’ could wind

19 up impairing rather than enhancing competition” because “the decrees themselves may

20 unintentionally suppress procompetitive innovation and even facilitate collusion.”). Cf. 1/18/24

21 Hr’g Tr. 11:18-21 (“A United States district judge, whether me or anyone else or any Article III

22 judge in the federal judiciary, is not going to micromanage Google.”). For example, if Google

23 rejected Epic’s request to do business on particular terms, the Court would have to evaluate

24 whether those terms were reasonable. That is exactly the inquiry that the Supreme Court has

25 instructed courts to avoid in antitrust cases. Alston, 594 U.S. at 102 (“Judges must be wary, too,

26 of the temptation to specify the ‘proper price, quantity, and other terms of dealing’—cognizant

27 that they are neither economic nor industry experts.”) (citation omitted); Kodak, 125 F.3d at 1225

28 (court erred by limiting Kodak to charging only “reasonable” prices).
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 88 of 93




 1                                    VI.     GEOGRAPHIC SCOPE

 2 Objection 1:         A worldwide injunction would exceed this Court’s authority pursuant to
                        the Foreign Trade Antitrust Improvements Act (“FTAIA”).
 3
              1.    Epic’s proposed worldwide injunction (excluding China) asks this Court to enjoin
 4
     wholly foreign conduct. The FTAIA restricts this Court from enjoining such conduct. 15 U.S.C.
 5
     § 6a; see also Empagran, 542 U.S. at 158–59 (conduct that “involves” foreign commerce is
 6
     presumptively outside the scope of the antitrust laws).
 7
              2.    “U.S. antitrust laws concern the protection of ‘American consumers and American
 8
     exporters, not foreign consumers or producers.’” In re Dynamic Random Access Memory (DRAM)
 9
     Antitrust Litig., 546 F.3d at 986 (citation omitted); see also Empargran, 542 U.S. at 165 (FTAIA
10
     prevents the “risk of interference with a foreign nation’s ability independently to regulate its own
11
     commercial affairs” by limiting the application of U.S. “remedies.”). Under the FTAIA, the
12
     antitrust laws do not apply to foreign commerce unless the conduct has a “direct, substantial, and
13
     reasonably foreseeable effect” on domestic commerce, import commerce, or export commerce. 15
14
     U.S.C. § 6a. Developers outside of the U.S. transact with users outside of the U.S. via versions of
15
     the Play store designed for countries outside of the U.S. Epic has made no showing that Google’s
16
     conduct as to those transactions has a direct, substantial, and reasonably foreseeable effect on U.S.
17
     commerce, or import or expert commerce. Recently, in Order at 6–7, Societe du Figaro, SAS, et
18
     al. v. Apple, Inc., No. 4:22-cv-04437-YGR, ECF 84 (N.D. Cal. Sept. 13, 2023), the court
19
     dismissed an antitrust complaint under the FTAIA where “[p]laintiffs alleged that French
20
     consumers bought apps from French developers in a French iOS App Store front.” Similarly, the
21
     Court in this case should not issue an injunction that covers sales from foreign developers (or
22
     foreign subsidiaries of developers) to foreign users made through a foreign Play storefront.
23
     Objection 2:       A worldwide injunction would violate fundamental principles of
24                      international comity and interfere with foreign states’ enforcement of their
                        own laws inside their own borders.
25
              1.    Even if this Court finds the FTAIA does not prohibit this Court from issuing an
26
     injunction against conduct that extends beyond the United States, principles of international
27
     comity weigh strongly against doing so in order to avoid interfering with a foreign state’s
28
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 89 of 93




 1 enforcement of competition laws within its own borders. See Mujica v. AirScan Inc., 771 F.3d

 2 580, 605 (9th Cir. 2014) (recognizing the “presumption against extraterritorial application of U.S.

 3 law” which “serves to protect against unintended clashes between our laws and those of other

 4 nations”) (citation omitted). Under the doctrine of international comity, this Court may “decline

 5 to exercise jurisdiction in a case properly adjudicated in a foreign state” in order to avoid

 6 interfering with a foreign state’s exercise of its own jurisdiction. Id. at 598–99; see also

 7 Unigestion Holding, S.A. v. UPM Tech., Inc., 305 F. Supp. 3d 1134, 1145 (D. Or. 2018) (even

 8 where the FTAIA does not bar the application of the Sherman Act a “[c]ourt may still apply the

 9 principles of international comity”).
10            2.    Applying the comity doctrine, the Supreme Court has asked, “Why should
11 American law supplant, for example, Canada’s or Great Britain’s or Japan’s own determination

12 about how best to protect Canadian or British or Japanese customers from anticompetitive conduct

13 engaged in significant part by Canadian or British or Japanese or other foreign companies?”

14 Empagran, 542 U.S. at 165. After all, “other nations have not in all areas adopted antitrust laws

15 similar to this country’s and,” even if those different “nations agree about” the anticompetitive

16 conduct at issue, “they disagree dramatically about appropriate remedies.” Id. at 157, 165–67.

17            3.    Consistent with principles of international comity, this Court should reject Epic’s
18 request for a worldwide injunction to avoid any unintended conflicts or inconsistencies with legal

19 proceedings and regulatory initiatives in foreign states.

20            4.    First, Epic has asserted claims against Google based on much of the same conduct
21 presented to the jury in this case under competition laws in both Australia and the United

22 Kingdom. Epic is requesting that courts in both of those jurisdictions issue injunctions against

23 Google. Indeed, Epic’s claims against Google under Australian competition law are currently

24 being tried jointly with Epic’s claims against Apple in a court in Melbourne. Accordingly, a

25 worldwide injunction could conflict with rulings from courts hearing Epic’s cases in Australia and

26 the United Kingdom. For example, if this Court issues a global injunction requiring Google to

27 eliminate certain contractual provisions related to placement of Play on Android devices, but the

28 court in Australia rules that Google’s contracts related to Play placement are lawful under
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                         GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 90 of 93




 1 Australian law, then this Court would require Google to refrain from conduct in Australia that an

 2 Australian court has determined is lawful under Australian law. Limiting any injunctive relief to

 3 the U.S. would avoid this risk of interfering with foreign states’ enforcement of their own

 4 competition laws.

 5            5.    Second, a worldwide injunction could create similar conflicts with foreign

 6 regulations that govern the conduct that Epic challenged at trial and seeks to regulate with its

 7 proposed injunction. For example, both the 2021 South Korea Telecommunications Business Act

 8 and the Digital Markets Act (DMA) that came into force in the European Union earlier this year

 9 regulate billing systems for payments inside Android apps. As it must, Google has taken steps to
10 comply with these laws. A worldwide injunction could impose obligations on Google that conflict

11 with its obligations under foreign laws or supplant foreign sovereigns’ authority to balance the

12 many competing interests within their borders.

13            6.    Third, competition authorities around the world are actively investigating the
14 conduct that was litigated at trial in this case, including Google’s Google Play Billing requirement,

15 steering policies, and the MADA. Some of these investigations currently involve initial demands

16 for documents and data while others have proceeded to appeals from certain orders. A worldwide

17 injunction risks preempting these foreign enforcement officials’ ability to enforce their own laws

18 as well as inconsistent orders. That risk is not merely theoretical. Recently, the Competition

19 Commission of India (“CCI”) asserted that it has jurisdiction over whether Google can enforce its

20 Payments policy against Indian developers outside of India, including those located in the United

21 States. Google is likewise objecting to the CCI’s assertion of jurisdiction because it violates the

22 norms of international comity by permitting a foreign antitrust authority to regulate conduct

23 occurring within the U.S.—conduct which would otherwise be subject to the Sherman Act and

24 would be covered by the jurisdiction of this Court. If the Court orders a worldwide injunction

25 here, it could encourage other nations and their agents—like the CCI—to enforce laws that

26 undermine U.S. sovereignty. Mujica, 771 F.3d at 608 (citations omitted) (“[W]e recognize that

27 there are other legal systems that have effected, in different ways, our constitutional values of

28 separation of powers, due process of law, and the equal protection of the law. Comity, as the
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                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 91 of 93




 1 ‘golden rule among nations,’ compels us to ‘give the respect to the laws, policies and interests of

 2 others that [we] would have others give to [our] own in the same or similar circumstances.”).

 3            7.    Finally, the conflict between Epic’s proposed worldwide injunction and

 4 enforcement activity by foreign authorities is not limited to antitrust or competition law. For

 5 example, while Epic’s proposed injunction would scale back protections against sideloading, some

 6 foreign government agencies have demanded that Google make sideloading more restrictive to

 7 guard against financial fraud and malware affecting Android users, including “increasingly

 8 sophisticated tactics employed by scammers to deceive users into installing malicious apps on

 9 their Android devices.” See Shikman Decl., Ex. 12 (“Joint Advisory on Malware Scams Affecting
10 Android Users” issued by Singapore Police Force and Cyber Security Agency of Singapore). The

11 Cyber Security Agency of Singapore (CSA) recently asked Google to “develop[] a custom

12 Android OS/firmware for Singapore as an interim measure, that perhaps disallow sideloading or

13 make sideloading more difficult….” Kleidermacher Decl., Ex. F (email from CSA to Google

14 dated Aug. 22, 2023). Google partnered with the CSA to implement a new program to prevent

15 users from sideloading certain apps in Singapore that are known to abuse Android permissions and

16 result in financial scams harming consumers in Singapore. Id. ¶ 15-17. Similarly, Thailand’s

17 Ministry of Digital Economy and Society (MDES) wrote to Google noting that “many Thai people

18 have fallen victim” to “financial scams involving malicious mobile apps” and “at least over five

19 hundred million US dollars have been lost.” Id., Ex. G (Letter from MDES to Google dated Feb.

20 15, 2024). Because “combating online scams is considered an urgent and top priority on the

21 [Thai] national agenda,” Thailand’s MDES requested that Google “block[] the installation of

22 Internet-sideloaded apps that may use sensitive permissions frequently abused for financial fraud.”

23 Id. If this Court orders a worldwide injunction that requires Google to implement changes to

24 further reduce the security protections around the sideloading of apps on Android devices, such an

25 order would be directly at odds with requests from foreign authorities that Google do more to

26 restrict sideloading in order to protect their citizens.

27            8.    Even if the Court concludes the doctrine of comity does not formally apply here,
28 these considerations weigh strongly against the issuance of equitable relief outside the United
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                          GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 92 of 93




 1 States under eBay. The Supreme Court’s warning that district courts should exercise “caution”

 2 and “a healthy dose of judicial humility” when fashioning equitable relief applies with particular

 3 force to Epic’s request that this Court assume the role of a global competition regulator. Alston,

 4 594 U.S. at 107.

 5
      DATED: May 2, 2024                        Respectfully submitted,
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                               Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
        Case 3:20-cv-05671-JD Document 656 Filed 05/02/24 Page 93 of 93




 1                                     E-FILING ATTESTATION

 2            I, Glenn D. Pomerantz, am the ECF User whose ID and password are being used to file

 3 this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that counsel for

 4 Defendants have concurred in this filing.

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